Case No. 1:15-cr-00395-REB Document 173-3 filed 09/10/19 USDC Colorado pg 1 of 145




                                                                             APPEAL,TERMED
                  U.S. District Court − District of Colorado
                        District of Colorado (Denver)
      CRIMINAL DOCKET FOR CASE #: 1:15−cr−00395−REB All Defendants

    Case title: USA v. Williams                        Date Filed: 10/07/2015
                                                       Date Terminated: 06/21/2019

    Assigned to: Judge Robert E.
    Blackburn
    Appeals court case number:
    19−1229 USCA

    Defendant (1)
    Alan Alonzo Williams           represented by Alan Alonzo Williams
    TERMINATED: 06/21/2019                        #43473−013
                                                  ENGLEWOOD
                                                  FEDERAL CORRECTIONAL INSTITUTION
                                                  Inmate Mail/Parcels
                                                  9595 WEST QUINCY AVENUE
                                                  LITTLETON, CO 80123
                                                  PRO SE

                                              Keith Bradley
                                              Squire Patton Boggs (US) LLP−Denver
                                              1801 California Street
                                              Suite 4900
                                              Denver, CO 80202
                                              303−894−6156
                                              Fax: 303−894−9239
                                              Email: keith.bradley@squirepb.com
                                              ATTORNEY TO BE NOTICED
                                              Designation: 10th Circuit Special Designation

                                              Matthew C. Golla
                                              Office of the Federal Public Defender−Denver
                                              633 Seventeenth Street
                                              Suite 1000
                                              Denver, CO 80202
                                              303−294−7002
                                              Fax: 303−294−1192
                                              Email: Matt_Golla@fd.org
                                              TERMINATED: 07/19/2016
                                              Designation: Public Defender or Community
                                              Defender Appointment

                                              Michael John Gallagher
                                              Davis Graham & Stubbs, LLP−Denver

                                                                                              1
Case No. 1:15-cr-00395-REB Document 173-3 filed 09/10/19 USDC Colorado pg 2 of 145




                                             1550 17th Street
                                             Suite 500
                                             Denver, CO 80202
                                             303−892−9400
                                             Fax: 303−893−1379
                                             Email: mike.gallagher@dgslaw.com
                                             TERMINATED: 11/15/2017
                                             Designation: CJA Appointment

                                             Steven K. Jacobson
                                             Collins & Rafik
                                             1881 9th Street
                                             #315
                                             Boulder, CO 80302
                                             303−444−9292
                                             Fax: 303−447−0200
                                             Email: steve@rafiklaw.com
                                             ATTORNEY TO BE NOTICED
                                             Designation: CJA Appointment

    Pending Counts                           Disposition
    BANK FRAUD                               84 months imprisonment. 5 years supervised release.
    (1)                                      $100 special assessment. $1,146,828.28 restitution.

    Highest Offense Level
    (Opening)
    Felony

    Terminated Counts                        Disposition
    BANK FRAUD
                                             Dismissed.
    (2−4)

    Highest Offense Level
    (Terminated)
    Felony

    Complaints                               Disposition
    None



    Plaintiff
    USA                                 represented by Linda S. Kaufman
                                                       U.S. Attorney's Office−Denver
                                                       1801 California Street
                                                       Suite 1600
                                                       Denver, CO 80202

                                                                                                   2
Case No. 1:15-cr-00395-REB Document 173-3 filed 09/10/19 USDC Colorado pg 3 of 145




                                                                 303−454−0100
                                                                 Fax: 454−0402
                                                                 Email: Linda.Kaufman@usdoj.gov
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED
                                                                 Designation: Federal Agency Attorney

                                                                 Julia K. Martinez
                                                                 U.S. Attorney's Office−Denver
                                                                 1801 California Street
                                                                 Suite 1600
                                                                 Denver, CO 80202
                                                                 303−454−0100
                                                                 Email: julia.martinez@usdoj.gov
                                                                 ATTORNEY TO BE NOTICED
                                                                 Designation: Federal Agency Attorney

                                                                 Rebecca Susan Weber
                                                                 U.S. Attorney's Office−Denver
                                                                 1801 California Street
                                                                 Suite 1600
                                                                 Denver, CO 80202
                                                                 303−454−0332
                                                                 Email: Rebecca.Weber@usdoj.gov
                                                                 ATTORNEY TO BE NOTICED
                                                                 Designation: Federal Agency Attorney

     Date Filed    #    Page Docket Text
     03/06/2019   134      6 ORDER TO SHOW CAUSE as to Alan Alonzo Williams. On or before
                             3/18/2019, Richard Hudgins, Warden of FCI Englewood, shall show cause in
                             writing why he should not be held in contempt of court for his failure to
                             comply fully with the Order Granting Motion To Continue [# 122 ] issued by
                             this court. By Judge Robert E. Blackburn on 03/06/2019. (athom, ) (Entered:
                             03/06/2019)
     03/07/2019   135      8 Certificate of Service as to Alan Alonzo Williams re 134 Order to Show Cause,
                             122 Order, (Attachments: # 1 USMS Form) (athom, ) (Entered: 03/07/2019)
     03/22/2019   137    10 WITHDRAWN − Letter requesting that Steven K. Jacobson be withdrawn as
                            counsel by Alan Alonzo Williams. (Attachments: # 1 Envelope) (athom, )
                            Modified on 4/4/2019 to withdraw pursuant to 141 Order (athom, ). (Entered:
                            03/22/2019)
     03/29/2019   139    15 Letter requesting that 137 Letter be withdrawn by Alan Alonzo Williams.
                            (Attachments: # 1 Envelope) (athom, ) (Entered: 04/01/2019)
     04/02/2019   140    17 Return of Service upon Warden Richard Hudgins, FCI − Englewood on
                            03/26/2019 re 135 Certificate of Service. (athom, ) (Entered: 04/02/2019)
     04/03/2019   142    18 RESPONSE TO ORDER TO SHOW CAUSE to 134 Order to Show Cause −
                            Declaration of Richard Hudgins, by USA as to Alan Alonzo Williams (Weber,
                            Rebecca) Modified on 4/4/2019 to add text (athom, ). (Entered: 04/03/2019)

                                                                                                             3
Case No. 1:15-cr-00395-REB Document 173-3 filed 09/10/19 USDC Colorado pg 4 of 145




     06/03/2019   146    44 Letter requesting that Steven K. Jacobson be withdrawn as my counsel by Alan
                            Alonzo Williams. (Attachments: # 1 Envelope) (athom, ) (Entered:
                            06/04/2019)
     06/04/2019   145    22 SENTENCING STATEMENT Third Supplemental by Alan Alonzo Williams
                            (Attachments: # 1 Exhibit Discharge Instructions, # 2 Exhibit 3 28 18 Report, #
                            3 Exhibit 8 28 18 Report, # 4 Exhibit Fax, # 5 Exhibit Orthopedic Report, # 6
                            Exhibit Letter)(Jacobson, Steven) (Entered: 06/04/2019)
     06/11/2019   149    50 AFFIDAVIT by USA as to Alan Alonzo Williams (Weber, Rebecca) (Entered:
                            06/11/2019)
     06/12/2019   151    56 SENTENCING STATEMENT and Response to Defendant's Sentencing
                            Statements by USA as to Alan Alonzo Williams (Attachments: # 1 Exhibit, # 2
                            Exhibit)(Weber, Rebecca) (Entered: 06/12/2019)
     06/19/2019   153    69 COURTROOM MINUTES for Motion Hearing as to Alan Alonzo Williams
                            held before Judge Robert E. Blackburn. ORDERED: The motion to terminate
                            the attorney−client relationship in the form of a letter to the Court 146 is
                            denied. Court Reporter: Tracy Weir. (lrobe) (Entered: 06/19/2019)
     06/19/2019   154    71 COURTROOM MINUTES for Sentencing as to Alan Alonzo Williams held
                            before Judge Robert E. Blackburn on 6/19/2019. ORDERED: 52 Government's
                            Motion Pursuant to U.S.S.G. § 3E1.1(b) and 53 Government's Motion to
                            Dismiss Counts are granted. Defendant sentenced as reflected on the record.
                            Defendant remanded. Court Reporter: Tracy Weir. (lrobe) (Entered:
                            06/19/2019)
     06/21/2019   155    74 JUDGMENT as to defendant Alan Alonzo Williams. Count 1: 84 months
                            imprisonment. 5 years supervised release. $100 special assessment.
                            $1,146,828.28 restitution. Counts 2−4: Dismissed. Entered by Judge Robert E.
                            Blackburn on 6/21/2019. (lrobe) (Entered: 06/21/2019)
     06/27/2019   157    81 NOTICE OF APPEAL as to 154 Order on Motion for Decrease for Acceptance
                            of Responsibility,, Order on Motion to Dismiss Counts,, Sentencing, 155
                            Judgment, 156 Statement of Reasons by Alan Alonzo Williams. (Jacobson,
                            Steven) (Entered: 06/27/2019)
     06/27/2019   158    82 LETTER Transmitting Notice of Appeal to all counsel advising of the
                            transmittal of the 157 Notice of Appeal as to Alan Alonzo Williams to the U.S.
                            Court of Appeals. ( CJA,) (Attachments: # 1 Docket Sheet, # 2 Preliminary
                            Record − SOR (Restricted Level 2) Doc 156 emailed separately to the Tenth
                            Circuit ) (athom, ) (Entered: 06/27/2019)
     06/27/2019   159   108 USCA Case Number 19−1229 as to Alan Alonzo Williams for 157 Notice of
                            Appeal filed by Alan Alonzo Williams. (athom, ) (Entered: 06/27/2019)
     06/28/2019   160   111 DESIGNATION OF RECORD ON APPEAL re 157 Notice of Appeal by Alan
                            Alonzo Williams. (Attachments: # 1 Docket Sheet Docket Sheet with Noted
                            Docs)(Jacobson, Steven) (Entered: 06/28/2019)
     06/28/2019   161   130 TRANSCRIPT ORDER FORM re 157 Notice of Appeal by Alan Alonzo
                            Williams. (Jacobson, Steven) (Entered: 06/28/2019)
     07/03/2019   162   131 ORDER of USCA granting attorney Steven K. Jacobson's motion to withdraw
                            as attorney and appointing attorney Keith Bradley as counsel for appellant as to

                                                                                                               4
Case No. 1:15-cr-00395-REB Document 173-3 filed 09/10/19 USDC Colorado pg 5 of 145




                             Alan Alonzo Williams re 157 Notice of Appeal. If warranted, Mr. Bradley may
                             file on or before July 24, 2019: (1) a supplemental designation of record;
                             and/or (2) a supplemental transcript order form. The district court shall wait
                             until at least July 25, 2019 before transmitting the record on appeal. (USCA
                             Case No. 19−1229) (athom, ) (Entered: 07/03/2019)
     07/03/2019   163   135 Letter re 157 Notice of Appeal by Alan Alonzo Williams (Attachments: # 1
                            Envelope) (athom, ) (Entered: 07/05/2019)
     07/05/2019   164   137 MOTION for Leave to Appeal In Forma Pauperis by Alan Alonzo Williams.
                            (athom, ) (Entered: 07/05/2019)
     07/05/2019   166   139 MOTION for Appointment of Counsel in a Criminal Case by Alan Alonzo
                            Williams. (Attachments: # 1 Envelope) (athom, ) (Entered: 07/05/2019)
     07/09/2019   167   143 ORDER as to Alan Alonzo Williams re 157 Notice of Appeal. The Prisoner's
                            Motion and Affidavit for Leave to Proceed on Appeal Pursuant to 28 U.S.C. §
                            1915 and Fed. R. App. P. 24 in a Criminal Case [# 164 ] is granted. The
                            Motion for Appointment of Counsel in a Criminal Case [# 166 ] is denied as
                            mooted by the appointment of counsel entered by the U.S. Court of Appeals for
                            the Tenth Circuit on July 3, 2019 [# 162 ]. By Judge Robert E. Blackburn on
                            07/09/2019. (athom, ) (Entered: 07/09/2019)
     07/18/2019   168   145 REPORTER TRANSCRIPT ORDER FORM filed by Tracy Weir re 157
                            Notice of Appeal. Transcript due by 8/15/2019. (nrich) (Entered: 07/18/2019)




                                                                                                              5
Case No. 1:15-cr-00395-REB   Document
           Case 1:15-cr-00395-REB     173-3 134
                                  Document  filed 09/10/19   USDCPage
                                                   Filed 03/06/19 Colorado
                                                                       1 of 2 pg 6 of 145




                               IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLORADO
                                      Judge Robert E. Blackburn

   Criminal Case No. 15-cr-00395-REB

   UNITED STATES OF AMERICA,

           Plaintiff,
   v.

   1. ALAN ALONZO WILLIAMS,

           Defendant.


                                        ORDER TO SHOW CAUSE

   Blackburn, J.

           This matter is before the court sua sponte.

           On December 18, 2018, I entered an Order Granting Motion To Continue [#122]1.

   Included in that order are the following specific orders:

                  3. That by January 3, 2019, the warden of FCI Englewood (9595 West
           Quincy Avenue, Littleton, Colorado 80123) shall advise the court in writing about
           when the defendant shall receive the medical treatment, including any surgery,
           reasonably necessary to address the medical condition and needs of the
           defendant; and

                 4. That this order shall be served on the warden of FCI Englewood (9595
           West Quincy Avenue, Littleton, Colorado 80123).

   Order [#122], p. 2, ¶¶ 3 - 4 (footnote omitted). The order was sent to the Warden via certified

   mail. Certificate of service [#123]. The order was delivered, via certified mail, on December 27,

   2018. Receipt [#130]. At all relevant times, the defendant, Alan Williams, was housed at FDC,

   the detention center associated with FCI Englewood.

           To date, the court has not received from the Warden of FCI Englewood, Richard

   Hudgins, a response of any kind. Given the ostensibly contumacious non-compliance of the


           1
               “[#122]” is an example of the convention I use to identify the docket number assigned to a
   specific paper by the court’s case management and electronic case filing system (CM/ECF). I use this
   convention throughout this order.



                                                                                                            6
Case No. 1:15-cr-00395-REB   Document
           Case 1:15-cr-00395-REB     173-3 134
                                  Document  filed 09/10/19   USDCPage
                                                   Filed 03/06/19 Colorado
                                                                       2 of 2 pg 7 of 145




   Warden, Richard Hudgins, I order that he show cause in writing why he should not be held in

   contempt of court and punished as provided by law for failing to comply fully with the order of

   this court. To the extent the Warden seeks to present facts demonstrating the reasons for his

   non-compliance, he must file a sworn affidavit averring the facts on which he relies. Following

   the filing of a response to this Order To Show Cause by the Warden, Richard Hudgins, the

   court will determine if a contempt hearing is necessary.

          THEREFORE, IT IS ORDERED as follows:

          1. That on or before March 18, 2019, Richard Hudgins, Warden of FCI Englewood, shall

   show cause in writing why he should not be held in contempt of court for his failure to comply

   fully with the Order Granting Motion To Continue [#122] issued by this court;

          2. That if the Warden seeks to establish facts demonstrating the reasons for his non-

   compliance with the Order Granting Motion To Continue [#122], he shall file a sworn affidavit

   averring the facts on which he relies;

          3. That after review of the response by the Warden to this Order To Show Cause, the

   court will determine if a contempt hearing is necessary; and

          4. That as soon as practicable, the United States Marshal for the District of Colorado

   shall serve this Order To Show Cause on Richard Hudgins, Warden of FCI Englewood (9595

   West Quincy Avenue, Littleton, Colorado 80123).

          Dated March 6, 2019, at Denver, Colorado.

                                                               BY THE COURT:




                                                   2
                                                                                                     7
Case No. 1:15-cr-00395-REB   Document
           Case 1:15-cr-00395-REB     173-3 135
                                  Document  filed 09/10/19   USDCPage
                                                   Filed 03/07/19 Colorado
                                                                       1 of 1 pg 8 of 145




                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO
                                    Judge Robert E. Blackburn

   Criminal Case No. 15-cr-00395-REB

   UNITED STATES OF AMERICA,

        Plaintiff,

   v.

   1. ALAN ALONZO WILLIAMS,

        Defendant.


                                     CERTIFICATE OF SERVICE



          I certify that I have emailed a copy of the Certificate of Service to the named individuals
   below, and the following forms to the United States Marshals Service for service of process on:
   Warden Richard Hudgins, FCI-Englewood: ORDER TO SHOW CAUSE FILED ON 03/06/2019
   AND ORDER GRANTING MOTION TO CONTINUE FILED ON 12/18/2018 on March 7, 2019.

   Steven K. Jacobson
   Attorney for Defendant
   Delivered via CM/ECF

   Linda S. Kaufman
   Julia K. Martinez
   Rebecca Susan Weber
   U.S. Attorney's Office-Denver
   Delivered via CM/ECF

   US Marshals Service
   Service Clerk
   Order to Show Cause and Order for Continuance for Warden Hudgins




                                                        s/ A. Thomas
                                                     Deputy Clerk




                                                                                                        8
     Case No. 1:15-cr-00395-REB  Document
              Case 1:15-cr-00395-REB      173-3 135-1
                                      Document   filed 09/10/19  USDC Colorado
                                                        Filed 03/07/19 Page 1 of 1pg 9 of 145


U.S. Department of Justice                                                     PROCESS RECEIPT AND RETURN
United States Marshals Service                                                 See Instructions for "Service of Process by the U.S. Marshal"
                                                                               on the reverse of this form.


PLAINTIFF                                                                      COURT CASE NUMBER
USA                                                                            Criminal Action No. 15-cr-00395-REB-1
DEFENDANT                                                                      TYPE OF PROCESS
Alan Alonzo Williams                                                           Order to Show Cause and Order Granting Motion to Continue

 SERVE NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC., TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR
       CONDEMN
      Warden Richard Hudgins, FCI-Englewood
   AT
               ADDRESS (Street or RFD, Apartment No., City State and Zip Code)
               9595 West Quincy Avenue, Littleton, CO 80123

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW:                                        Number of process to be
                                                                                                           served with this Form - 285          1
        US District Court for the District of Colorado
        Room A105                                                                                          Number of parties to be
        901 19th Street                                                                                    served in this case                  1
        Denver, CO 80294
                                                                                                           Check for service on U.S.A.
SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate
Addresses, All Telephone Numbers, and Estimated Times Available For Service):

PERSONAL SERVICE
Signature of Attorney or other Originator requesting service on behalf of:       X     PLAINTIFF        TELEPHONE NUMBER             DATE
                                                                                      DEFENDANT
s/ R. Villa                                                                                             303-844-3433                 March 7, 2019
Deputy Clerk

     SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE
I acknowledge receipt for the total Total         District of    District to      Signature of Authorized USMS Deputy or Clerk Date
number of process indicated.        Process       Origin         Serve
(Sign only first USM 285 if more
than one USM 285 is submitted)                    No.            No.
I hereby certify and return that I_____ have personally served, _____ have legal evidence of service, _____ have executed as shown in "Remarks", the
process described on the individual, company, corporation, etc., at the address shown above or on the individual, company, etc., shown at the address
indicated below.
_____ I hereby certify and return that I am unable to locate the individual, company, corporation, etc., named above (See remarks below)
Name and title of individual served (if not shown above)                                            _____ A person of suitable age and discretion then
                                                                                                    residing in the defendant's usual place of adobe.


Address (complete only if different than shown above)                                               Date of Service           Time                   am
                                                                                                                                                     pm
                                                                                                    Signature of U.S. Marshal or Deputy



Service Fee     Total Mileage Charges          Forwarding Fee     Total Charges         Advance Deposits Amount owed to U.S. Amount of Refund
                (including endeavors)                                                                    Marshal or


REMARKS:



PRIOR EDITIONS                                       1. CLERK OF THE COURT                                            FORM USM-285 (Rev. 12/15/80)
MAY BE USED




                                                                                                                                                      9
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-3 137
                                Document    filedFiled
                                                  09/10/19   USDC
                                                       03/22/19   Colorado
                                                                Page 1 of 3 pg 10 of
                                      145




                                                                                       10
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-3 137
                                Document    filedFiled
                                                  09/10/19   USDC
                                                       03/22/19   Colorado
                                                                Page 2 of 3 pg 11 of
                                      145




                                                                                       11
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-3 137
                                Document    filedFiled
                                                  09/10/19   USDC
                                                       03/22/19   Colorado
                                                                Page 3 of 3 pg 12 of
                                      145




                                                                                       12
Case No.Case
         1:15-cr-00395-REB   Document
              1:15-cr-00395-REB       173-3137-1
                                 Document    filed 09/10/19  USDCPage
                                                   Filed 03/22/19 Colorado
                                                                      1 of 2 pg 13 of
                                       145




                                                                      13
Case No.Case
         1:15-cr-00395-REB   Document
              1:15-cr-00395-REB       173-3137-1
                                 Document    filed 09/10/19  USDCPage
                                                   Filed 03/22/19 Colorado
                                                                      2 of 2 pg 14 of
                                       145




                                                                      14
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-3 139
                                Document    filedFiled
                                                  09/10/19   USDC
                                                       03/29/19   Colorado
                                                                Page 1 of 1 pg 15 of
                                      145




                                                                                       15
Case No.Case
         1:15-cr-00395-REB   Document
              1:15-cr-00395-REB       173-3139-1
                                 Document    filed 09/10/19  USDCPage
                                                   Filed 03/29/19 Colorado
                                                                      1 of 1 pg 16 of
                                       145




                                                                                        16
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-3 140
                                Document    filedFiled
                                                  09/10/19   USDC
                                                       04/02/19   Colorado
                                                                Page  1 of 1 pg  17 of
                                                                             FILED
                                      145                         UNITED STATES DISTRICT COURT
                                                                        DENVER, COLORADO
                                                                           9:31 am, Apr 02, 2019
                                                                    JEFFREY P. COLWELL, CLERK




                                                                                                   17
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-3 142
                                Document    filedFiled
                                                  09/10/19   USDC
                                                       04/03/19   Colorado
                                                                Page 1 of 4 pg 18 of
                                      145




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

 Civil Action No. 15-cr-00395-REB

 UNITED STATES OF AMERICA,

           Plaintiff,

 v.
 ALAN ALONZO WILLIAMS,

           Defendant.


                           DECLARATION OF RICHARD HUDGINS


           I, Richard Hudgins, pursuant to 28 U.S.C. § 1746, and based upon my personal

 knowledge and information made known to me from official records reasonably relied upon by

 me in the course of my employment, hereby declare as follows relating to the above-captioned

 matter:

      1. I am the Warden at the Federal Correctional Institution (FCI) Englewood in

 Littleton, Colorado. I have served in this position since October 2017. I have been employed

 by the United States Federal Bureau of Prisons in positions of increasing responsibility since

 August 1990.


      2. Plaintiff, federal inmate Alan Alonzo Williams, Register Number 43473-013, is currently

 incarcerated at FDC Englewood. See Attachment 1, Public Information Inmate Data, at 1.

      3. This Declaration is in response to the Court's Order to Show Cause dated March 6, 2019.

 The Court requests that I show cause, in writing, why I should not be held in contempt of court

 for my failure to comply fully with the Order Granting Motion to Continue See Doc. 122. In the




                                                                                                   18
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-3 142
                                Document    filedFiled
                                                  09/10/19   USDC
                                                       04/03/19   Colorado
                                                                Page 2 of 4 pg 19 of
                                      145




                                                                                       19
Case No. Case
         1:15-cr-00395-REB   Document
               1:15-cr-00395-REB      173-3 142
                                 Document    filedFiled
                                                   09/10/19   USDC
                                                        04/03/19   Colorado
                                                                 Page 3 of 4 pg 20 of
                                       145




          10.     Defendant Williams has been told repeatedly he does not require surgery.

          11.     Most recently, on February 26, 2019, Defendant was seen for joint instability by

  a provider at the institution. Defendant demanded to be sent to see Dr. Tillquest for his hernia.

  Defendant was informed his hernia had been repaired already. Defendant refused examination,

  and refused counseling and left the office refusing to pay the copay for the appointment.




          I declare under penalty of pe1jury that the foregoing is true and correct to the best ofmy

          knowledge. Executed on this _2=.__da April 2019, in Littleton, Colorado.




                                                    Rich rd Hudgins, Warden Fede1
                                                    I Correctional Institution
                                                    Englewood, Colorado


  Enclosures

  Attachment 1            Public Information Inmate Data




                                                       3
                                                                                                       20
     Case No. Case
              1:15-cr-00395-REB   Document
                    1:15-cr-00395-REB      173-3 142
                                      Document    filedFiled
                                                        09/10/19   USDC
                                                             04/03/19   Colorado
                                                                      Page 4 of 4 pg 21 of
                                            145




                                     CERTIFICATE OF SERVICE



        I hereby certify that on this 3rd day of April, 2019, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system which will send notification of such filing to all counsel of
record.




                                                                       s/ Annah Hillary
                                                                       Annah Hillary Legal
                                                                       Assistant
                                                                       U.S. Attorney’s Office




                                                                                                              21
Case No.Case
        1:15-cr-00395-REB   Document
             1:15-cr-00395-REB       173-3145
                                Document    filedFiled
                                                  09/10/19   USDC
                                                       06/04/19   Colorado
                                                                Page 1 of 10 pg 22 of
                                      145




                         IN THE UNITED STATES DISTRICT
                           COURT FOR THE DISTRICT OF
                                   COLORADO


   Criminal Action No. 1:15-cr-00395-REB


   UNITED STATES OF AMERICA,

          Plaintiff,

   v.

   1.     ALAN ALONZO WILLIAMS,

          Defendant.

 ___________________________________________________________________

    DEFENDANT'S T H I R D SUPPLEMENTAL SENTENCING MEMORANDUM
              AND REQUEST FOR NON-GUIDELINE SENTENCE
 ___________________________________________________________________


        Mr.   Williams    submits    this   additional     Supplemental     Sentencing

 Memorandum in support of his previously filed Sentencing Memorandum and Motion

 for Downward Departure and Variance to further address Mr. Williams’ medical

 condition and other issues:

         A. The History of Mr. William’s Receiving and Not Receiving
            Timely Medical Treatment While this Matter Has Been
            Pending.


        Mr. Williams was first incarcerated in FDC in March 2016. While in FDC, Mr.

 Williams progressively began to suffer from an enlargement of a hernia. He was

 examined in April 2017 and surgery was recommended. The condition caused him

 substantial pain and restricted his activities. He could not ambulate without crutches.

                                            1

                                                                                           22
Case No.Case
        1:15-cr-00395-REB   Document
             1:15-cr-00395-REB       173-3145
                                Document    filedFiled
                                                  09/10/19   USDC
                                                       06/04/19   Colorado
                                                                Page 2 of 10 pg 23 of
                                      145




         Even though surgery was recommended, his condition was not addressed

 again until October 24, 2017, over five months later. He remained in significant pain

 during this period and remained on crutches.

         At that time surgery was ordered for a target date of November 28, 2017.

 However, surgery was not actually performed until January 24, 2018. During this

 period he was in substantial pain and remained on crutches.

         At the time of surgery, the Doctor discussed with Mr. Williams that the repair

 would be to the hernia on his right side. Mr. Williams also had an inguinal hernia on

 his left side. The Doctor felt that it did not yet need repair.

         Soon after surgery, Mr. Williams felt significant pain on both his lower right and

 left sides. He was concerned because his original patient discharge instructions

 directed that he have a follow up appointment within “10-14” days, but this was never

 scheduled by FDC staff. Exhibit One – Discharge Instructions. Mr. Williams believed

 that his pain was associated with the mesh used to repair his surgery having

 stretched soon after the operation as a result of severe constipation resulting in the

 need for a re-repair. This is not an uncommon condition. “The distinction between a

 recurrence and bulging of the mesh remains difficult even with radiological

 examinations but is therapeutically irrelevant in symptomatic patients.” See on-line at

 https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5061296/. The article notes that “(i)t

 is possible that the repair is still intact and bulging of the mesh causes swelling.”

         Mr. Williams was not thereafter re-examined by the surgeon until March 23,

 2018.     At that time the doctor expressed concern that Mr. Williams was



                                              2

                                                                                              23
Case No.Case
        1:15-cr-00395-REB   Document
             1:15-cr-00395-REB       173-3145
                                Document    filedFiled
                                                  09/10/19   USDC
                                                       06/04/19   Colorado
                                                                Page 3 of 10 pg 24 of
                                      145




 “extraordinarily tender down in the right lower quadrant.” Exhibit Two – Tillquist

 2/23/18. The Doctor wanted to rule out any other pathology and wanted a CAT scan

 done.

         The FDC authorities never scheduled a CT scan. Mr. Williams continued to be

 in significant pain. He was not again returned to the see the surgeon for over five

 more months and no CT scan was performed.

         Mr. Williams was finally again examined by the surgeon on August 28, 2018.

 Exhibit Three. The surgeon again recommended that a CT scan be done so that the

 surgeon could “make recommendations based on that.”               This was the same

 recommendation as made five months before with no action taken by FDC staff to

 arrange for a CT scan.

         A CT scan was finally performed on November 15, 2018.           This was eight

 months after the surgeon requested it. The FDC medical staff has asserted that it

 appeared normal. However, counsel was informed by Dr. Tillquist’s staff that he has

 never been provided the CT scan to examine and the medical records provided to

 counsel by Dr. Tillquist’s office have no entries relating to his consideration of the CT

 scan results.

         On December 18, 2108, in order to clarify Mr. Williams’ medical condition, the

 Court entered an order directly the FDC warden to provide the Court a report

 clarifying Mr. Williams’ medical condition and the need for treatment. No response

 was provided the Court even after the Court issued several show cause orders which

 were served by certified mail. A response was not actually filed until April 3, 2019. It



                                            3

                                                                                             24
Case No.Case
        1:15-cr-00395-REB   Document
             1:15-cr-00395-REB       173-3145
                                Document    filedFiled
                                                  09/10/19   USDC
                                                       06/04/19   Colorado
                                                                Page 4 of 10 pg 25 of
                                      145




 is counsel’s understanding the facility maintains it wasn’t aware of the Court orders

 until shortly before the response was filed. It would appear the facility was ignoring

 the Court not unlike they were ignoring Mr. Williams’ situation.

       Because of the non-responsiveness of the Warden, Counsel attempted to get

 records from the provider to clarify Mr. Williams’ condition. Counsel received the

 attached records in response. Exhibits Two and Three. As noted in the attached fax

 cover sheet, Counsel had been previously told by Dr. Tillquist’s office that the doctor

 needed to see the CT scan to direct future planned surgery. Exhibit Four – Fax. This

 now appears not to have been the case and the doctor needed the CT scan to

 determine if further surgery was needed.

        Mr. Williams was never informed of the results of the CT scan until he saw

 medical staff January 22, 2019.

       Mr. Williams has been in substantial pain as a result of his abdominal condition

 and remains so to this date. It appears he will never receive any treatment for his

 condition given the stated positions of the authorities and will remain in substantial

 pain for the remainder of any period of incarceration imposed by the Court.

       Mr. Williams’ continuing abdominal pain is in combination with the condition of

 his deteriorated knee. This is another condition which the authorities in effect

 continue to ignore. This condition also dramatically limits his movement and causes

 him pain. As noted in the attached record from a year and a half ago, Exhibit Five –

 Report,   and letter previously provided the Court, Exhibit Six, Mr. Williams will

 “ultimately . . . need a knee replacement.”         When he was taken to see the



                                            4

                                                                                           25
Case No.Case
        1:15-cr-00395-REB   Document
             1:15-cr-00395-REB       173-3145
                                Document    filedFiled
                                                  09/10/19   USDC
                                                       06/04/19   Colorado
                                                                Page 5 of 10 pg 26 of
                                      145




 orthopedist he was given a brace and an injection at that time. He tolerated the

 injection well indicating he was a candidate for continued injections to manage the

 pain. He was given a brace. However, he has never been returned to get more

 injections so the pain relief has been limited. His brace has worn out and has never

 been replaced. He has made regular requests of medical staff relating to getting a

 new brace. Counsel contacted the provider eight months ago noting that the brace

 was worn out and needed replacing.       No new brace has been provided.        He is

 presently using an inappropriate complete leg brace that was abandoned by another

 inmate, since an appropriate one has not provided by the medical staff.

       Throughout Mr. Williams’ incarceration, Mr. Williams has regularly informed

 counsel about his medical condition and the pain he was experiencing. At the same

 time, Mr. Williams regularly informed counsel that he was told that “things took time”

 and care would be timely provided. Mr. Williams believed this and patiently waited.

 In the belated response to the Court’s order, the Warden notes the times Mr.

 Williams would come up to the Warden on his rounds, during the months and months

 Mr. Williams was literally being ignored.       It was not on “one occasion” that Mr.

 Williams would tell the Warden that he was supposed to get surgery, he was

 supposed to get injections, he was supposed to be getting a new brace, that he was

 supposed to be getting a CT scan, it was every occasion. Every time he was told “be

 patient . . . things took time” and care would be timely provided. Mr. Williams was

 repeatedly told by some medical staff that he was “going out” to see Dr. Tillquist and

 the orthopedist. Then he was told by other staff that Dr. Tillquist didn’t need to see

 him anymore. Then he was again told by other staff that he was scheduled to go out.
                                             5

                                                                                          26
Case No.Case
        1:15-cr-00395-REB   Document
             1:15-cr-00395-REB       173-3145
                                Document    filedFiled
                                                  09/10/19   USDC
                                                       06/04/19   Colorado
                                                                Page 6 of 10 pg 27 of
                                      145




 This appears to have never been the case.



         B. The Small Likelihood that Mr. Williams Will Receive Reasonable
            Medical Care Once Sentenced Supports a Variance

       It is well recognized that “medical care proved to prisoners incarcerated in the

  Federal Bureau of Prisons is generally lacking, although not completely deficient.”

  https://www.prisonerresource.com/medical-care/medical-care-federal-bureau-

  prisons/   However, where it is completely deficient relates the fact that “(m)any

  inmates with a serious chronic physical illness fail to receive care while

  incarcerated.” The Health and Health Care of US Prisoners: Results of a Nationwide

  Survey, Am J Public Health. 2009 April; 99(4): 666–672. It is these chronically ill

  inmates, like Mr. Williams, who get ignored:

        “(I)f the federal inmate has a non-acute medical condition (e.g., a
        torn or damaged ligament, an injured hip, neurological problems,
        gender identity disorder, etc.), care will not generally be forthcoming to
        an acceptable standard of care. Common experience indicates that a
        plethora of medical ailments are either not treated by Federal Bureau
        of Prisons’ health services staff or are treated through less expensive,
        and less effective, means (e.g., Ibuprofen to treat migraines, fractured
        bones, torn ligaments, neurological problems, etc.).

        https://www.prisonerresource.com/medical-care/medical-care-federal-
        bureau-prisons/

       This is the case even though the obligation to provide inmates with

 adequate medical care is a constitutional requirement under the Eighth Amendment:

       A prison's failure to provide sustenance for inmates “may actually
       produce physical ‘torture or a lingering death.’ ” Just as a prisoner may
       starve if not fed, he or she may suffer or die if not provided adequate
       medical care. A prison that deprives prisoners of basic sustenance,
       including adequate medical care, is incompatible with the concept of
       human dignity and has no place in civilized society.


                                            6

                                                                                          27
Case No.Case
        1:15-cr-00395-REB   Document
             1:15-cr-00395-REB       173-3145
                                Document    filedFiled
                                                  09/10/19   USDC
                                                       06/04/19   Colorado
                                                                Page 7 of 10 pg 28 of
                                      145




        ***
        Courts . . . must not shrink from their obligation to “enforce the
        constitutional rights of all ‘persons,’ including prisoners.” Courts may not
        allow constitutional violations to continue simply because a remedy
        would involve intrusion into the realm of prison administration.
        Brown v. Plata, 563 U.S. 493, 1928-1929 (2011) (citations omitted)
        (emphasis added).

        In 1994, the General Accounting Office “issued a report about health care in

  the Bureau of Prisons [which] . . . concluded that inmates with chronic illnesses were

  not receiving proper health care. . .” United States v. Sherman, 53 F.3d 782, 786 at

  n.7 (7th Cir. 1995). Things have not changed since the 1994 report. The medical

  care afforded by the BOP, such as it is, has been recently criticized by the Inspector

  General of the Justice Department. See Dep't of Justice, The Impact of an Aging

  Inmate     Population   on    the    Federal      Bureau   of    Prisons (May        2015).

  https://oig.justice.gov/reports/2015/e1505.pdf.    This study found “BOP institutions

  lack appropriate staffing levels to address the needs of an aging inmate population

  and provide limited training for this purpose.” Id. at ii. The lack of adequate staffing

  leaves inmates with limited access to medical care. Id. at 17-19.

        Even though this failing is obvious and has been proven out in Mr. Williams’

 case, counsel understands that the BOP continues to send Courts “a form letter

 trumpeting the BOP’s ability to handle medical conditions of all kinds.”    U.S. v. Gee,

 226 F.3d 885, 902 (7th Cir. 2000).

           C. Both a Departure and Variance Analysis Apply in This Case.

        Under 18 U.S.C. § 3553(a)(2)(D), the need for medical care is a sentencing

 factor which can support a variance. The United States Sentencing Guidelines also

 provide authority for departing downward based on a defendant's poor health.


                                             7

                                                                                                28
Case No.Case
        1:15-cr-00395-REB   Document
             1:15-cr-00395-REB       173-3145
                                Document    filedFiled
                                                  09/10/19   USDC
                                                       06/04/19   Colorado
                                                                Page 8 of 10 pg 29 of
                                      145




 Under U.S.S.G. § 5H1.4, a below guideline sentence is appropriate when “an

 extraordinary physical impairment may be a reason to depart downward . . . .” A

 Court can consider the constellation of a defendant’s conditions in conducting such a

 departure analysis.     U.S. v. Moy, 1995 WL 311441, at 26-29.          Additionally, a

 downward departure “may be appropriate to accomplish a specific treatment

 purpose,” and even allows for consideration of home detention or other alternatives

 when a defendant is “seriously infirm[ed].” U.S.S.G. § 5H1.4.

       Given the history outlined above there is little doubt that Mr. William’s will be

 relegated to being in constant pain during any future incarceration.    Mr. Williams in

 effect has two painful chronic conditions, neither of which he will be able to be

 remedied until he is released or able to seek medical treatment on his own if serving

 an alternative sentence.       This is something he could do were he serving an

 alternative sentence.

       Courts have historically recognized that significant variances or departures are

 justified for chronically ill defendants, including alternatives other than sentences to

 prison.   For example in a case cited in prior pleadings, U.S. v. Martin, 363 F.3d 25

 (Fifth Cir. 2004), a defendant involved in a $1.8 million fraud scheme who suffered

 from debilitating Crohn’s disease was granted home detention and probation.

 Although the case was reversed and remanded for resentencing for other reasons,

 the Court found that the trial court correctly considered that “the Bureau of Prisons

 would be unable to adequately meet the defendant’s medical needs” in imposing the

 sentence. Id. at 49.    The Court cited with approval that even under the pre-Booker

 sentencing scheme “a sentencing court is not faced with an all-or-nothing choice



                                            8

                                                                                            29
Case No.Case
        1:15-cr-00395-REB   Document
             1:15-cr-00395-REB       173-3145
                                Document    filedFiled
                                                  09/10/19   USDC
                                                       06/04/19   Colorado
                                                                Page 9 of 10 pg 30 of
                                      145




 between GSR-range imprisonment or no imprisonment, but may lawfully decide to

 impose a reduced prison sentence below the (guidelines).” United States v. Hilton,

 946 F.2d 955, 958 (1st Cir.1991).

           D. Mr. Williams’ Age

       In prior counsel’s original sentencing memorandum, he argued that Mr.

 Williams’ advanced age and his low risk of recidivism upon release mean that a

 guidelines-range sentence in this case would disproportionately affect the Defendant

 and provide greater punishment than necessary. Since making this argument, the

 United State Sentencing Commission has issued a report titled: The Effects of Aging

 on Recidivism Among Federal Offenders, December 2017.          The conclusions in the

 report further validate counsel’s argument.

       In the Key Findings of the report, the Commission conclusions included among

 others:

       a. “Older offenders were substantially less likely than younger offenders to

            recidivate following release. Over an eight-year follow-up period, 13.4

            percent of offenders age 65 or older at the time of release were rearrested

            compared to 67.6 percent of offenders younger than age 21 at the time of

            release.”

       b. Even “(f)or offenders in Criminal History Category VI,” the re-arrest rate

            was less than half that for younger offenders.

       c. “(F)or offenders age 60 and older at the time of release, the re-arrest rates

            were . . . 12.5 percent (fraud)” compared to “53.6 percent (fraud)” “for

            offenders under age 30 at the time of release.”
                                            9

                                                                                          30
Case No.Case
         1:15-cr-00395-REB  Document
             1:15-cr-00395-REB       173-3
                               Document  145filed  09/10/19
                                                Filed        USDC
                                                      06/04/19    Colorado
                                                               Page 10 of 10 pg 31 of
                                      145




       All these conclusions suggest that Mr. Williams’ presents little future risk and

 lessens the need for a sentence “to protect the public from further crimes of the

 defendant.” 18 U.S.C. § 3553(a)(2)(c).

         E. Conclusion

       Mr. Williams asks to the Court to weigh heavily his ongoing suffering over the

 three years he has so far been incarcerated, the fact that he has pending state cases

 that will almost assuredly add to any period of incarceration and the fact that he offers

 little risk to re-offend. Accordingly, Mr. Williams requests a non-guideline sentence

 that offers him the soonest opportunity to obtain treatment.

              Dated: June 4, 2019


              Respectfully submitted,

                                           s/ Steven K. Jacobson
                                           Steven K. Jacobson
                                           Collins, Rafik and Jacobson LLC
                                           1881 9th St., Suite 315
                                           Boulder, Colorado 80302
                                           Telephone: 303-444-9292
                                           Fax: 303-447-0200
                                           e-mail: steve@collinsrafik.com


                       CERTIFICATE OF SERVICE (CM/ECF)

          I hereby certify that on June 4, 2019 I electronically filed the foregoing
 DEFENDANT'S THIRD SUPPLEMENTAL SENTENCING MEMORANDUM with the
 Clerk of the Court using the CM/ECF filing system which will send notification of such
 filing to all counsel of record in this case.

                                           s/ Steven K. Jacobson
                                           Steven K. Jacobson




                                            10

                                                                                             31
Case No.Case
         1:15-cr-00395-REB   Document
              1:15-cr-00395-REB       173-3145-1
                                 Document    filed 09/10/19  USDCPage
                                                   Filed 06/04/19 Colorado
                                                                      1 of 1 pg 32 of
                                       145




                                                                                        32
Case No.Case
         1:15-cr-00395-REB   Document
              1:15-cr-00395-REB       173-3145-2
                                 Document    filed 09/10/19  USDCPage
                                                   Filed 06/04/19 Colorado
                                                                      1 of 2 pg 33 of
                                       145




                                                                                        33
Case No.Case
         1:15-cr-00395-REB   Document
              1:15-cr-00395-REB       173-3145-2
                                 Document    filed 09/10/19  USDCPage
                                                   Filed 06/04/19 Colorado
                                                                      2 of 2 pg 34 of
                                       145




                                                                                        34
Case No.Case
         1:15-cr-00395-REB   Document
              1:15-cr-00395-REB       173-3145-3
                                 Document    filed 09/10/19  USDCPage
                                                   Filed 06/04/19 Colorado
                                                                      1 of 2 pg 35 of
                                       145




                                                                                        35
Case No.Case
         1:15-cr-00395-REB   Document
              1:15-cr-00395-REB       173-3145-3
                                 Document    filed 09/10/19  USDCPage
                                                   Filed 06/04/19 Colorado
                                                                      2 of 2 pg 36 of
                                       145




                                                                                        36
Case No.Case
         1:15-cr-00395-REB   Document
              1:15-cr-00395-REB       173-3145-4
                                 Document    filed 09/10/19  USDCPage
                                                   Filed 06/04/19 Colorado
                                                                      1 of 1 pg 37 of
                                       145

                                                   STEVEN K. JACOBSON
                                                    ATTORNEY AT LAW
                                                   1881 9TH STREET, SUITE 315
                                                 BOULDER, COLORADO 80302
                                             PHONE: 303-444-9292 FAX 303-447-0200

                                                                                                    March 3, 2019




                   FACSIMILE TRANSMITTAL INFORMATION

 FAX NUMBER:               303 789 2628

 TO:                       ATTN: Cindy

 FROM:                     Steven K. Jacobson

 REGARDING:                Alan Williams Release

 COMMENTS:                 Please call. 303-817-7466

 Cindy,
 Would it be possible to get the below request note soon so we can get this resolved? Thanks.

 Cindy,
 We have spoken severeal times about Mr. Williams and the need to get him back in for a cat scan
 so that Dr. Tillquist can get abdominal views on which to base surgery and to schedule the
 surgery. As you are probably aware, none of this has been arrange by FDC. Could you fax me
 back a short note from Dr. Tilliquest noting what needs to be done so that I can give that to the
 authorites and see if that helps move them along?
 Thanks.
 Steve Jacobson, Attorney for Mr. Williams



                                       CONFIDENTIALITY NOTE

 The information contained in this facsimile transmission is legally privileged and confidential. Review,
 dissemination or copying of this transmission is prohibited by anyone other than the above named person, entity or
 their agent. If you received this in error, please notify us immediately by telephone and return the original
 documents to us by mail.




                                                                                                                      37
Case No.Case
         1:15-cr-00395-REB   Document
              1:15-cr-00395-REB       173-3145-5
                                 Document    filed 09/10/19  USDCPage
                                                   Filed 06/04/19 Colorado
                                                                      1 of 5 pg 38 of
                                       145




                                                                                        38
Case No.Case
         1:15-cr-00395-REB   Document
              1:15-cr-00395-REB       173-3145-5
                                 Document    filed 09/10/19  USDCPage
                                                   Filed 06/04/19 Colorado
                                                                      2 of 5 pg 39 of
                                       145




                                                                                        39
Case No.Case
         1:15-cr-00395-REB   Document
              1:15-cr-00395-REB       173-3145-5
                                 Document    filed 09/10/19  USDCPage
                                                   Filed 06/04/19 Colorado
                                                                      3 of 5 pg 40 of
                                       145




                                                                                        40
Case No.Case
         1:15-cr-00395-REB   Document
              1:15-cr-00395-REB       173-3145-5
                                 Document    filed 09/10/19  USDCPage
                                                   Filed 06/04/19 Colorado
                                                                      4 of 5 pg 41 of
                                       145




                                                                                        41
Case No.Case
         1:15-cr-00395-REB   Document
              1:15-cr-00395-REB       173-3145-5
                                 Document    filed 09/10/19  USDCPage
                                                   Filed 06/04/19 Colorado
                                                                      5 of 5 pg 42 of
                                       145




                                                                                        42
Case No.Case
         1:15-cr-00395-REB   Document
              1:15-cr-00395-REB       173-3145-6
                                 Document    filed 09/10/19  USDCPage
                                                   Filed 06/04/19 Colorado
                                                                      1 of 1 pg 43 of
                                       145




                                                                                        43
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-3 146
                                Document    filedFiled
                                                  09/10/19   USDC
                                                       06/03/19   Colorado
                                                                Page 1 of 4 pg 44 of
                                      145




                                                                                       44
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-3 146
                                Document    filedFiled
                                                  09/10/19   USDC
                                                       06/03/19   Colorado
                                                                Page 2 of 4 pg 45 of
                                      145




                                                                                       45
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-3 146
                                Document    filedFiled
                                                  09/10/19   USDC
                                                       06/03/19   Colorado
                                                                Page 3 of 4 pg 46 of
                                      145




                                                                                       46
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-3 146
                                Document    filedFiled
                                                  09/10/19   USDC
                                                       06/03/19   Colorado
                                                                Page 4 of 4 pg 47 of
                                      145




                                                                                       47
Case No.Case
         1:15-cr-00395-REB   Document
              1:15-cr-00395-REB       173-3146-1
                                 Document    filed 09/10/19  USDCPage
                                                   Filed 06/03/19 Colorado
                                                                      1 of 2 pg 48 of
                                       145




                                                                      48
Case No.Case
         1:15-cr-00395-REB   Document
              1:15-cr-00395-REB       173-3146-1
                                 Document    filed 09/10/19  USDCPage
                                                   Filed 06/03/19 Colorado
                                                                      2 of 2 pg 49 of
                                       145




                                                                      49
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-3 149
                                Document    filedFiled
                                                  09/10/19   USDC
                                                       06/11/19   Colorado
                                                                Page 1 of 6 pg 50 of
                                      145




                                                                                       50
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-3 149
                                Document    filedFiled
                                                  09/10/19   USDC
                                                       06/11/19   Colorado
                                                                Page 2 of 6 pg 51 of
                                      145




                                                                                       51
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-3 149
                                Document    filedFiled
                                                  09/10/19   USDC
                                                       06/11/19   Colorado
                                                                Page 3 of 6 pg 52 of
                                      145




                                                                                       52
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-3 149
                                Document    filedFiled
                                                  09/10/19   USDC
                                                       06/11/19   Colorado
                                                                Page 4 of 6 pg 53 of
                                      145




                                                                                       53
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-3 149
                                Document    filedFiled
                                                  09/10/19   USDC
                                                       06/11/19   Colorado
                                                                Page 5 of 6 pg 54 of
                                      145




                                                                                       54
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-3 149
                                Document    filedFiled
                                                  09/10/19   USDC
                                                       06/11/19   Colorado
                                                                Page 6 of 6 pg 55 of
                                      145




                                 CERTIFICATE OF SERVICE


         I hereby certify that on this 11th day of June, 2019, I electronically filed the
 foregoing with the Clerk of the Court using the CM/ECF system which will send
 notification of such filing to all counsel of record.




                                                            s/ Annah Hillary
                                                            Annah Hillary
                                                            Legal Assistant
                                                            U.S. Attorney’s Office




                                                                                            55
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-3 151
                                Document    filedFiled
                                                  09/10/19   USDC
                                                       06/12/19   Colorado
                                                                Page 1 of 8 pg 56 of
                                      145



                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

 Criminal Action No. 15-cr-00395-REB

 UNITED STATES OF AMERICA,

           Plaintiff,

 v.

 1. ALAN ALONZO WILLIAMS,

           Defendant.


      GOVERNMENT=S RESPONSE TO DEFENDANT’S SENTENCING STATEMENTS


           The United States of America respectfully submits the following response to

 Defendant’s Sentencing Statement and Motion for a Downward Departure and Variance

 (No. 58), Second Supplemental Sentencing Statement (No. 110) and Third Supplemental

 Sentencing Statement (No. 145). The government stands by its earlier request for a mid-

 range sentence within the guidelines range of 70-87 months. (See No. 67).

           Additionally, the government “renews” its pending Motion for Decrease of

 Acceptance of Responsibility (No. 52) and Motion to Dismiss Counts (No. 53).

      I.      Procedural History

           The defendant pled guilty on January 12, 2017 to violating 18 U.S.C. § 1344, Bank

 Fraud. (Nos. 43, 44). Sentencing was originally scheduled for April 6, 2017. (No. 43). It

 was later rescheduled for July 6, 2017, and then again to August 17, 2017. (Nos. 50, 57).

 On June 15, 2017, the defendant filed an Objection to the Presentence Report that largely

 focused on the issue of intended loss. (No. 55). The defendant then submitted a

 Sentencing Memorandum and Motion for Downward Departure and Variance.                   He


                                               1

                                                                                               56
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-3 151
                                Document    filedFiled
                                                  09/10/19   USDC
                                                       06/12/19   Colorado
                                                                Page 2 of 8 pg 57 of
                                      145



 requested a sentence of 57 months. (No. 58). The sentencing was again rescheduled –

 to November 15, 2017. (No. 60). On November 2, 2017, the government filed a response

 to the defendant’s sentencing statement. (No. 67). The defendant responded with a

 Supplemental Sentencing Memorandum. (No. 68). The defendant then sought and

 received new counsel. (Nos. 70, 78). With the sentencing reset for September 26, 2018

 (No. 108), the defendant filed a Second Supplemental Sentencing Statement. (No. 110).

 The sentencing was eventually reset for June 19, 2019. (No. 143). The defendant filed

 a Third Supplemental Sentencing Statement on June 4, 2019.              (No. 145).    The

 government now files this response, and incorporates its earlier response (No. 67) herein.

    II.      Argument Concerning Loss

          As the Court is well aware, the defendant obtained $1,160,000 in loans and

 attempted to obtain another $550,000 loan for himself and a business called Williams

 Vending Company (“WVC”).         The loans were obtained through a series of false

 statements, which are detailed at length in the Plea Agreement. (No. 44). Because the

 defendant was a felon and a parolee, he would not qualify for the loans. He therefore

 exploited Ms. X, an acquaintance with a severe drug addiction, in order to use her identity

 to obtain loans fraudulently. For example, he listed Ms. X as the 100% owner and

 president of WVC, even though the defendant controlled the finances and operations of

 WVC and he and his family members owned the company.

          The defendant attempted to obtain the $550,000 loan, specifically, by falsely

 representing that the funds were needed to purchase equipment for a contract WVC had

 entered into with the City and County of Denver, when in fact no such agreement existed.

 He also presented a fraudulent document that inflated Ms. X’s account balance. Finally,

 he falsely claimed that WVC had reduced its debt to Ms. X by about $430,000 and

                                             2

                                                                                               57
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-3 151
                                Document    filedFiled
                                                  09/10/19   USDC
                                                       06/12/19   Colorado
                                                                Page 3 of 8 pg 58 of
                                      145



 produced a fraudulent promissory note in support. (No. 44 at 11-12). WebBank ultimately

 denied the requested $550,000 loan, avoiding an additional $550,000 in actual loss.

            The government asserts that the defendant should receive a 16-level increase

 under § 2B1.1(b)(1)(I) to reflect the amount of the actual loss ($1,160,000) plus the

 intended loss ($550,000). The defendant argues that the full amount of the $550,000

 loan should not count towards “intended loss” for sentencing purposes, because the

 defendant would have used a large portion of the $550,000 loan for the continued

 operation of his family business. He therefore argues that he should receive only a 14-

 level increase pursuant to § 2B1.1(b)(1)(H).

            The government stands by the arguments set forth in its earlier sentencing

 response (No. 67) that, as a legal matter, whether the defendant would have used the

 $550,000 loan proceeds for his business is irrelevant to the question of intended loss.

 Aside from the legal and factual arguments previously set forth, the government raises a

 few other considerations below, which are relevant under 18 U.S.C. § 3553(a).

 Additionally, the government responds to the defendant’s motion concerning his medical

 condition. (No. 145).

     III.      Response to Claimed Expenditures

            In his sentencing statements, the defendant catalogues additional expenditures he

 purportedly made for legitimate business purposes using loan proceeds. For example,

 he details payments of approximately $406,000 to creditors of WVC, using loan

 proceeds. 1 (No. 58). The first loan specified that approximately $781,855 should go to



 1 The defendant’s first sentencing statement estimated that $406,369.54 was directed to
 creditors, and noted that he was awaiting documentation from two creditors regarding
 an additional approximately $55,000. (No. 58). The defendant’s second sentencing
 statement detailed a number of additional purportedly legitimate business expenses,
                                            3

                                                                                                58
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-3 151
                                Document    filedFiled
                                                  09/10/19   USDC
                                                       06/12/19   Colorado
                                                                Page 4 of 8 pg 59 of
                                      145



 creditors; accordingly, the defendant has advanced evidence showing he used just over

 one-half of the money for paying off creditors. The defendant has admitted he made

 these payments to creditors without obtaining the required co-endorsements from the joint

 payees. (Id., No. 44 (Plea Agreement at 9)). Not obtaining those co-endorsements

 allowed the defendant to keep a portion of those payments for WVC, rather than pay the

 full amount to creditors as required by the terms of the loan. (No. 44). Even if he used

 some of the remaining balance for business expenses, he still did not use that money as

 WebBank had directed, adding another layer of dishonesty to his actions beyond the initial

 false statements he made in obtaining the loans.

       Furthermore, the defendant does not dispute that he purchased two Mercedes

 Benz automobiles for himself and his daughter using loan proceeds. (No. 44). Other

 items that the defendant categorizes as legitimate business expenditures are

 questionable.   For example, the $3,100 payment on January 3, 2008 to “Medved

 Hummer” for “supply truck repairs” was likely for the defendant’s Hummer. (See No. 110

 Ex. 3 at 4). The $30,000 cash payment with “(beverage purchase)” in the memo line

 raises eyebrows.    (No. 110 Ex. 3 at 10). As does the $28,000 cash payment for

 “equipment aspects” on February 21, 2008. (No. 110 Ex. 3 at 17). Finally, the travel

 expenditures from May 15, 2008 ($1,498.04 and $566.39) likely relate to a trip the

 defendant made to Chicago, not to California to purchase items from Ross Equipment.

 (No. 110 Ex. 5 at 2; see record from Colorado Department of Corrections, attached as

 Ex. 1, and hotel bill, attached as Ex. 2). While in Chicago on May 16, 17, and 18, 2008,

 the defendant stayed at the Trump International Hotel at a rate of $1,475 per night, for a



 and added those to the category of “working capital.” But the terms of the loan specified
 only $32,279.76 to go towards working capital for WVC.
                                           4

                                                                                              59
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-3 151
                                Document    filedFiled
                                                  09/10/19   USDC
                                                       06/12/19   Colorado
                                                                Page 5 of 8 pg 60 of
                                      145



 total of $4,277 that he spent out of his Wells Fargo account after the second loan of

 $300,000 was deposited.

          These facts concerning the nature and circumstances of the offense provide

 additional justification for a mid-range guideline sentence.

    IV.      Response to Defendant’s Third Supplemental Sentencing Memorandum
             (No. 145)

          The defendant’s most recent sentencing document seeks a downward departure

 and variance largely on the basis of the defendant’s medical condition. (No. 145). Neither

 a departure nor a variance is warranted on these grounds because the defendant has

 received sufficient medical care while in custody, and because many of the defendant’s

 assertions about his care do not appear to be true.

          The defendant argues that he has not received timely medical treatment for a

 hernia. He points to (a) a nine-month delay in receiving hernia surgery; (b) insufficient

 care immediately after the surgery; and (c) delays in receiving a CT scan to address

 ongoing pain. The defendant also contends that he has received inadequate treatment

 for knee pain, in part because he has not been given a new knee brace since initially

 receiving one.

          The Bureau of Prisons provided a declaration from a medical professional

 addressing the defendant’s medical care while in custody. (Nos. 149, 150). Between

 March 18, 2016 and June 7, 2019, the defendant had 215 encounters with medical

 providers. (No. 150 Ex. A). It is true that the defendant did not receive hernia surgery

 until January 2018, nine months after surgery was recommended. But, contrary to the

 defendant’s assertion, he was seen immediately after the January 24, 2018 surgery – first

 by an EMT the same day, then by a mid-level provider two days letter, and then by a nurse

 practitioner six days later. (No. 150 Ex. B).
                                              5

                                                                                              60
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-3 151
                                Document    filedFiled
                                                  09/10/19   USDC
                                                       06/12/19   Colorado
                                                                Page 6 of 8 pg 61 of
                                      145



       On March 23, 2018, a doctor requested a CT scan. That scan was completed on

 June 1, 2018 and was unremarkable. (No. 150 Ex. D). This contradicts the defendant’s

 assertions that no CT scan was performed until November 15, 2018. The defendant’s

 omission of this first CT scan is surprising, given that in a visit on June 21, 2018, he

 insisted that the “CAT scan is wrong.” (No. 150 Ex. F). He also refused counseling,

 education, stretching, diet, or medication and demanded a new CT scan. Then, on July

 6, 2018, a doctor explained to the defendant that the CT scan was “essentially

 unremarkable.” (No. 150 Ex. G). On August 28, 2018, an outside provider ordered

 another CT scan, even though he did not feel any recurrence and did not note any hernia

 on either the right or left side. (No. 150 Ex. I). This second CT scan was performed less

 than three months later, on November 15, 2018.          The results showed no acute

 inflammation or obstruction. (No. 150 Ex. M). With respect to the defendant’s claims

 concerning a knee brace, he has received neoprene knee braces four times, on

 September 19, 2017, August 9, 2018, October 24, 2018, and March 19, 2019. (No. 150

 Ex. O).

       In sum, the defendant appears to have received attentive medical care. His

 assertions concerning many of the delays do not appear to be true. Accordingly, he

 deserves neither a departure nor a variance on these grounds.




                                            6

                                                                                             61
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-3 151
                                Document    filedFiled
                                                  09/10/19   USDC
                                                       06/12/19   Colorado
                                                                Page 7 of 8 pg 62 of
                                      145



    V.       Conclusion

          For the reasons set forth herein and in the government’s first sentencing statement

 (No. 67), the government requests a sentence in the middle of the 70-87-month guideline

 range.



                                                    JASON R. DUNN
                                                    United States Attorney

                                                   By: s/ Rebecca S. Weber
                                                   REBECCA S. WEBER
                                                   Assistant United States Attorney
                                                   United States Attorney’s Office
                                                   1801 California Street, Suite 1600
                                                   Denver, Colorado 80202
                                                   Telephone: (303) 454-0100
                                                   Email: Rebecca.Weber@usdoj.gov
                                                   Attorney for the United States




                                               7

                                                                                                62
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-3 151
                                Document    filedFiled
                                                  09/10/19   USDC
                                                       06/12/19   Colorado
                                                                Page 8 of 8 pg 63 of
                                      145



                               CERTIFICATE OF SERVICE

         I hereby certify that on this 12th day of June 2019, I electronically filed the
 foregoing GOVERNMENT=S RESPONSE TO DEFENDANT’S SENTENCING
 STATEMENTS with the Clerk of the Court using the CM/ECF system which will send
 notification of such filing to all parties of record.



                                          By: s/ Rebecca S. Weber
                                          REBECCA S. WEBER
                                          Assistant United States Attorney
                                          United States Attorney’s Office
                                          1801 California Street, Suite 1600
                                          Denver, Colorado 80202
                                          Telephone: (303) 454-0100
                                          Email: Rebecca.Weber@usdoj.gov
                                          Attorney for the United States




                                             8

                                                                                           63
Case No.Case
         1:15-cr-00395-REB   Document
              1:15-cr-00395-REB       173-3151-1
                                 Document    filed 09/10/19  USDCPage
                                                   Filed 06/12/19 Colorado
                                                                      1 of 2 pg 64 of
                                       145




                           EXHIBIT 1




                                                                                        64
Case No.Case
         1:15-cr-00395-REB   Document
              1:15-cr-00395-REB       173-3151-1
                                 Document    filed 09/10/19  USDCPage
                                                   Filed 06/12/19 Colorado
                                                                      2 of 2 pg 65 of
                                       145




                                                                                        65
Case No.Case
         1:15-cr-00395-REB   Document
              1:15-cr-00395-REB       173-3151-2
                                 Document    filed 09/10/19  USDCPage
                                                   Filed 06/12/19 Colorado
                                                                      1 of 3 pg 66 of
                                       145




                           EXHIBIT 2




                                                                                        66
Case No.Case
         1:15-cr-00395-REB   Document
              1:15-cr-00395-REB       173-3151-2
                                 Document    filed 09/10/19  USDCPage
                                                   Filed 06/12/19 Colorado
                                                                      2 of 3 pg 67 of
                                       145




                                                                                        67
Case No.Case
         1:15-cr-00395-REB   Document
              1:15-cr-00395-REB       173-3151-2
                                 Document    filed 09/10/19  USDCPage
                                                   Filed 06/12/19 Colorado
                                                                      3 of 3 pg 68 of
                                       145




                                                                                        68
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-3 153
                                Document    filedFiled
                                                  09/10/19   USDC
                                                       06/19/19   Colorado
                                                                Page 1 of 2 pg 69 of
                                      145




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                            Senior Judge Robert E. Blackburn

 Date:                June 19, 2019

 Deputy Clerk:        Leigh Roberson
 Court Reporter:      Tracy Weir
 Probation Officer:   Kyla Hamilton

  Criminal Action No. 15-cr-395-REB                   Counsel:

  UNITED STATES OF AMERICA,                           Rebecca Weber

         Plaintiff,

  v.

  ALAN ALONZO WILLIAMS,                               Steven Jacobson

         Defendant.


                                COURTROOM MINUTES


 Motion Hearing

 1:19 p.m.      Court in session.

 Appearances of counsel. Defendant is present in custody.

 Opening statements by the Court.

 Before the Court is defendant’s Letter Requesting That Steven K. Jacobson Be
 Withdrawn as My Counsel [ECF 146], filed June 3, 2019.

 Government and United States Probation Officer excused and courtroom sealed.

 Statement by defendant regarding [ECF 146].

 ORDERED: The motion to terminate the attorney-client relationship in the form of a
          letter to the Court [ECF 146], filed June 3, 2019, is denied.

 Courtroom unsealed. Government counsel and United States Probation Officer invited
 back into the courtroom.



                                                                                       69
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-3 153
                                Document    filedFiled
                                                  09/10/19   USDC
                                                       06/19/19   Colorado
                                                                Page 2 of 2 pg 70 of
                                      145




 Court’s remarks to the parties. Court shall proceed to sentencing.

 2:06 p.m.     Hearing concluded.

 Total time in court: 0:47




                                                                                       70
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-3 154
                                Document    filedFiled
                                                  09/10/19   USDC
                                                       06/19/19   Colorado
                                                                Page 1 of 3 pg 71 of
                                      145




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                              Senior Judge Robert E. Blackburn

 Date:                  June 19, 2019
 Deputy Clerk:          Leigh Roberson
 Court Reporter:        Tracy Weir
 Probation Officer:     Kyla Hamilton


  Criminal Action No. 15-cr-395-REB                      Counsel:

  UNITED STATES OF AMERICA,                              Rebecca Weber

           Plaintiff,

  v.

  ALAN ALONZO WILLIAMS,                                  Steven Jacobson

           Defendant.


                                  SENTENCING MINUTES


 2:06 p.m.        Court in session.

 Appearances of counsel. Defendant is present in custody.

 Court’s opening remarks.

 The parties have received and reviewed the presentence report and all addenda.

 Also pending before the Court relevant to sentencing are the following:

      Government’s Response to Presentence Report [ECF 51], filed April 7, 2017
      Government’s Motion Pursuant to U.S.S.G. § 3E1.1(b) [ECF 52], filed April 7, 2017
      Government’s Motion to Dismiss Counts [ECF 53], filed April 7, 2017
      Defendant’s Response to Presentence Report [ECF 55], filed June 15, 2017
      Defendant’s Sentencing Memorandum and Motion for Downward Departure and
       Variance [ECF 58], filed August 3, 2017
      Government’s Response to Defendant’s Sentencing Statement [ECF 67], filed
       November 2, 2017
      Defendant’s Supplemental Sentencing Memorandum [ECF 68], filed November 8,
       2017



                                                                                           71
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-3 154
                                Document    filedFiled
                                                  09/10/19   USDC
                                                       06/19/19   Colorado
                                                                Page 2 of 3 pg 72 of
                                      145




    Defendant’s Supplemental Sentencing Information Regarding Health Issues [ECF
     69], filed November 13, 2017
    Defendant’s Second Supplemental Sentencing Memorandum and Request for Non-
     Guideline Sentence [ECF 110], filed September 7, 2018
    Government’s Response to Defendant’s Sentencing Statements [ECF 151], filed
     June 12, 2019

 Statement by defense counsel.

 Defendant sworn. Statement by the defendant.

 Statement by government counsel.

 Court’s sentencing statement, findings of fact, conclusions of law, judgment of
 conviction, sentence, and orders.

 2:29 p.m.    Court in recess.
 2:53 p.m.    Court in session.

 IT IS ORDERED as follows:

 1. That the plea agreement of the parties as presented in [ECF 44] and [ECF 45] is
    formally approved;

 2. That [ECF 52] is granted;

 3. That [ECF 53] is granted and, accordingly, that Counts 2, 3, and 4 of the Indictment
    are dismissed with prejudice;

 4. That the defendant’s motion for downward departure, if any, in [ECF 58] is denied;

 5. That the defendant’s motion for a variance or statutory sentence as requested or
    reiterated in [ECF 58], [ECF 68], and [ECF 110] is denied;

 6. That judgment of conviction is entered on Count 1 of the Indictment;

 7. That it is the judgment and sentence of this Court that the defendant is committed to
    the custody of the Bureau of Prisons to be imprisoned for a term of 84 months;

 8. That upon release from imprisonment, the defendant shall be placed on supervised
    release for a term of five years;

 9. that within 72 hours of his release from imprisonment and the custody of the Bureau
    of Prisons, the defendant shall report in person to the probation department within
    the federal district in which he is released;




                                                                                            72
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-3 154
                                Document    filedFiled
                                                  09/10/19   USDC
                                                       06/19/19   Colorado
                                                                Page 3 of 3 pg 73 of
                                      145




 10. That while on supervised release, the defendant shall comply with the mandatory,
     standard, and special conditions of supervised release identified on pages R-2 and
     R-3 of the Sentencing Recommendation [ECF 117-1]:

 11. That no fine is imposed;

 12. That the defendant shall pay forthwith a special victim’s fund assessment fee of
     $100.00;

 13. That the defendant shall pay restitution for the benefit of the victims and in the
     amounts identified in the Sentencing Recommendation [ECF 117-1], payable in care
     of the Clerk of the Court in full immediately, failing which, in monthly installments of
     not less than ten percent of the defendant’s gross monthly income as determined
     periodically by the supervising probation officer; provided, furthermore, interest on
     restitution is waived;

 14. That the Court recommends that the Bureau of Prisons designate the defendant to
     its official detention facility in FCI Englewood;

 15. That presentence confinement credit shall be determined by the Bureau of Prisons;
     and

 16. That the defendant is remanded to the custody of the United States Marshal for
     imposition and execution of this sentence.

 The defendant is formally advised of his right to appeal the sentence imposed by the
 Court.

 3:23 p.m.     Court in recess.

 Total time in court: 00:53

 Hearing concluded.




                                                                                                73
              Case No. 1:15-cr-00395-REB  Document
                       Case 1:15-cr-00395-REB      173-3 155
                                              Document    filedFiled
                                                                09/10/19   USDC
                                                                     06/21/19   Colorado
                                                                              Page 1 of 7 pg 74 of
                                                    145
    AO 245B (Rev. 02/18)   Judgment in a Criminal Case



                                                UNITED STATES DISTRICT COURT
                                                                      District of Colorado
                                                                                 )
                  UNITED STATES OF AMERICA                                       )    JUDGMENT IN A CRIMINAL CASE
                                       v.                                        )
                                                                                 )
                     ALAN ALONZO WILLIAMS                                        )    Case Number:         1:15-cr-00395-REB-1
                                                                                 )    USM Number:          43473-013
                                                                                 )
                                                                                 )    Steven K. Jacobson
                                                                                 )    Defendant’s Attorney
    THE DEFENDANT:
    ‫ ܈‬pleaded guilty to count(s)        1 of the Indictment.
    ‫ ܆‬pleaded nolo contendere to count(s)
      which was accepted by the court.
    ‫ ܆‬was found guilty on count(s)
      after a plea of not guilty.

    The defendant is adjudicated guilty of these offenses:

    Title & Section                             Nature of Offense                                                      Offense Ended          Count

    18 U.S.C. §§ 1344 and 2(b)                  Bank Fraud                                                               08/05/2008              1


        The defendant is sentenced as provided in pages 2 through                   7            of this judgment. The sentence is imposed pursuant to
    the Sentencing Reform Act of 1984.
    ‫ ܆‬The defendant has been found not guilty on count(s)
    ‫ ܈‬Count(s) 2 through 4 of the Indictment                   ‫ ܆‬is     ‫܈‬    are dismissed on the motion of the United States.

              It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
    or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
    restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                            June 19, 2019
                                                                            Date of Imposition of Judgment




                                                                            Signature of Judge




                                                                            Robert E. Blackburn, Senior United States District Judge
                                                                            Name and Title of Judge

                                                                              June 21, 2019
                                                                            Date

                                           




                                                                                                                                                 74
          Case No. 1:15-cr-00395-REB  Document
                   Case 1:15-cr-00395-REB      173-3 155
                                          Document    filedFiled
                                                            09/10/19   USDC
                                                                 06/21/19   Colorado
                                                                          Page 2 of 7 pg 75 of
                                                145
AO 245B (Rev. 02/18) Judgment in Criminal Case

                                                                                                   Judgment — Page    2     of      7
 DEFENDANT:                   ALAN ALONZO WILLIAMS
 CASE NUMBER:                 1:15-cr-00395-REB-1

                                                           IMPRISONMENT
 The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of: eighty-four (84)
 months.



      ‫܈‬     The court makes the following recommendations to the Bureau of Prisons:
            The court recommends that the defendant be designated to FCI Englewood, in Littleton Colorado.




      ‫܈‬     The defendant is remanded to the custody of the United States Marshal.

      ‫܆‬     The defendant shall surrender to the United States Marshal for this district:
            ‫܆‬     at                                      ‫܆‬      a.m. ‫܆‬        p.m.   on                                                    .
            ‫܆‬     as notified by the United States Marshal.

      ‫܆‬     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            ‫܆‬     before 2 p.m. on                                        .
            ‫܆‬     as notified by the United States Marshal.
            ‫܆‬     as notified by the Probation or Pretrial Services Office.

                                                                  RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                            to

 at                                                , with a certified copy of this judgment.



                                                                                                    UNITED STATES MARSHAL



                                                                              By
                                                                                                 DEPUTY UNITED STATES MARSHAL




                                                                                                                                    75
          Case No. 1:15-cr-00395-REB  Document
                   Case 1:15-cr-00395-REB      173-3 155
                                          Document    filedFiled
                                                            09/10/19   USDC
                                                                 06/21/19   Colorado
                                                                          Page 3 of 7 pg 76 of
                                                145
AO 245B (Rev. 02/18) Judgment in Criminal Case

                                                                                                Judgment — Page     3      of         7
 DEFENDANT:                   ALAN ALONZO WILLIAMS
 CASE NUMBER:                 1:15-cr-00395-REB-1

                                                    SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of: five (5) years.




                                                 MANDATORY CONDITIONS

1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
            ‫ ܈‬The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                 substance abuse. (check if applicable)
4.    ‫ ܈‬You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
           restitution. (check if applicable)
5.    ‫ ܈‬You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.    ‫ ܆‬You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
           directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
           reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.    ‫ ܆‬You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.




                                                                                                                                      76
          Case No. 1:15-cr-00395-REB  Document
                   Case 1:15-cr-00395-REB      173-3 155
                                          Document    filedFiled
                                                            09/10/19   USDC
                                                                 06/21/19   Colorado
                                                                          Page 4 of 7 pg 77 of
                                                145
AO 245B (Rev. 02/18) Judgment in Criminal Case

                                                                                                  Judgment — Page      4      of          7
 DEFENDANT:                   ALAN ALONZO WILLIAMS
 CASE NUMBER:                 1:15-cr-00395-REB-1

                                        STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
      time frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
      the court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
      was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
      tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                     Date




                                                                                                                                          77
              Case No. 1:15-cr-00395-REB  Document
                       Case 1:15-cr-00395-REB      173-3 155
                                              Document    filedFiled
                                                                09/10/19   USDC
                                                                     06/21/19   Colorado
                                                                              Page 5 of 7 pg 78 of
                                                    145
    AO 245B (Rev. 02/18) Judgment in Criminal Case

                                                                                                    Judgment — Page      5     of          7
     DEFENDANT:                   ALAN ALONZO WILLIAMS
     CASE NUMBER:                 1:15-cr-00395-REB-1

                                               SPECIAL CONDITIONS OF SUPERVISION
     1.     You must not incur new credit charges or open additional lines of credit without the approval of the probation officer, unless you are
            in compliance with the periodic payment obligations imposed pursuant to the Court’s judgment and sentence.
     2.     As directed by the probation officer, you must apply any monies received from income tax refunds, lottery winnings, inheritances,
            judgments, and any anticipated or unexpected financial gains to the outstanding court-ordered financial obligation in this case.
     3.     You must provide the probation officer access to any requested financial information and authorize the release of any financial
            information.
     4.     If the judgment imposes restitution, you must pay the restitution in accordance with the Schedule of Payments sheet of this
            judgment. You must also notify the court of any changes in economic circumstances that might affect your ability to pay the
            restitution.
     5.     You must document all income and compensation generated or received from any source and must provide that information to the
            probation officer as requested.
     6.     You must not cause or induce anyone to conduct any financial transaction on your behalf or maintain funds on your behalf.
     7.     You must not engage in any business activity unless it is approved by the probation officer. All approved business activity must
            operate under a formal, registered entity, and you must provide the probation officer with the names of the business entities and
            their registered agents. You must maintain business records for any approved business activity and provide all documentation and
            records as requested by the probation officer.
     8.     You must maintain separate personal and business finances and must not co-mingle personal and business funds or income in any
            financial accounts, including but not limited to bank accounts and lines of credit.
     9.     You must participate in a cognitive behavioral treatment (CBT) program as directed by the probation officer until such time as you
            are released from the program by the probation officer. You must pay the cost of treatment as directed by the probation officer.




                                          




                                                                                                                                           78
          Case No. 1:15-cr-00395-REB  Document
                   Case 1:15-cr-00395-REB      173-3 155
                                          Document    filedFiled
                                                            09/10/19   USDC
                                                                 06/21/19   Colorado
                                                                          Page 6 of 7 pg 79 of
                                                145
AO 245B (Rev. 02/18) Judgment in Criminal Case

                                                                                                          Judgment — Page      6       of         7
 DEFENDANT:                   ALAN ALONZO WILLIAMS
 CASE NUMBER:                 1:15-cr-00395-REB-1

                                                 CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on the following page.

                       Assessment                    JVTA Assessment*             Fine                           Restitution
TOTALS             $ 100.00                      $ 0.00                         $ 0.00                         $ 1,146,828.28


‫ ܆‬The determination of restitution is deferred until                      . An Amended Judgment in a Criminal Case (AO 245C) will be entered
  after such determination.

‫ ܈‬The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
    before the United States is paid.

Name of Payee                                                      Total Loss**                 Restitution Ordered                Priority or Percentage
WebBank                                                                                                  $936,828.28
215 South State Street, Ste. 1000
Salt Lake City, UT 84111
Wells Fargo Bank                                                                                            $210,000.00
MAC C7301-L25
1740 Broadway
Denver, CO 80274



TOTALS                                                        $                                   $         1,146,828.28
‫ ܈‬Restitution amount ordered pursuant to plea agreement               $                    1,146,828.28

‫ ܆‬The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
  fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on the following page may be
  subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

‫ ܈‬The court determined that the defendant does not have the ability to pay interest and it is ordered that:

    ‫ ܈‬the interest requirement is waived for the             ‫ ܆‬fine       ‫ ܈‬restitution.

    ‫ ܆‬the interest requirement for the           ‫܆‬    fine    ‫ ܆‬restitution is modified as follows:

* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.




                                                                                                                                                  79
          Case No. 1:15-cr-00395-REB  Document
                   Case 1:15-cr-00395-REB      173-3 155
                                          Document    filedFiled
                                                            09/10/19   USDC
                                                                 06/21/19   Colorado
                                                                          Page 7 of 7 pg 80 of
                                                145
AO 245B (Rev. 02/18) Judgment in Criminal Case

                                                                                                          Judgment — Page       7       of           7
 DEFENDANT:                   ALAN ALONZO WILLIAMS
 CASE NUMBER:                 1:15-cr-00395-REB-1

                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A     ‫ ܆‬Lump sum payment of $                                    due immediately, balance due

            ‫܆‬     not later than                                    , or
            ‫܆‬     in accordance with ‫܆‬           C,   ‫܆‬     D,      ‫ ܆‬E, or ‫ ܆‬F below; or

B     ‫ ܈‬Payment to begin immediately (may be combined with ‫܆‬                     C,      ‫ ܆‬D, or       ‫ ܈‬F below); or

C     ‫ ܆‬Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                           (e.g., months or years), to commence                         (e.g., 30 or 60 days) after the date of this judgment; or

D     ‫ ܆‬Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                           over a period of
                           (e.g., months or years), to commence                         (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

E     ‫ ܆‬Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
        imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F     ‫ ܈‬Special instructions regarding the payment of criminal monetary penalties:
            The special assessment and restitution are due immediately. Any unpaid monetary obligations upon release from incarceration
            shall be paid in monthly installment payments during the term of supervised release. The monthly installment payment will be
            calculated as at least 10 percent of the defendant’s gross monthly income.



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

‫܆‬     Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




‫܆‬     The defendant shall pay the cost of prosecution.

‫܆‬     The defendant shall pay the following court cost(s):

‫܆‬     The defendant shall forfeit the defendant’s interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.




                                                                                                                                                    80
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-3 157
                                Document    filedFiled
                                                  09/10/19   USDC
                                                       06/27/19   Colorado
                                                                Page 1 of 1 pg 81 of
                                      145




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Criminal Action No. 1:15-cr-00395-REB

   UNITED STATES OF AMERICA,

        Plaintiff,

   v.

   1.    ALAN ALONZO WILLIAMS,

        Defendant.


                                      NOTICE OF APPEAL



            Notice is hereby given that Alan Alonzo Williams, defendant in the above
   named case, hereby appeals to the United States Court of Appeals for the Tenth
   Circuit the Final Judgment and Commitment Order that was entered in this action
   on June 19, 2019.

           Dated: June 27, 2019.

                     Respectfully submitted,

                                               s/ Steven K. Jacobson
                                               Steven K. Jacobson
                                               Rafik and Jacobson LLC
                                               1881 9th St., Suite 315
                                               Boulder, Colorado 80302
                                               Telephone: 303-444-9292
                                               Fax: 303-447-0200
                                               e-mail: steve@collinsrafik.com


                             CERTIFICATE OF SERVICE (CM/ECF)

         I hereby certify that on JUNE 27, 2019, I electronically filed the foregoing
   NOTICE OF APPEAL with the Clerk of the Court using the CM/ECF filing system
   which will send notification of such filing to all counsel of record in this case.

                                               s/ Steven K. Jacobson
                                               Steven K. Jacobson

                                                                                        81
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-3 158
                                Document    filedFiled
                                                  09/10/19   USDC
                                                       06/27/19   Colorado
                                                                Page 1 of 1 pg 82 of
                                      145

                                 UNITED STATES DISTRICT COURT           Alfred A. Arraj
                                 FOR THE DISTRICT OF COLORADO           United States Courthouse
                                      OFFICE OF THE CLERK               901 19th Street
                                                                        Denver, Colorado 80294
                                                                        www.cod.uscourts.gov


 Jeffrey P. Colwell                                                     Phone: (303) 844-3433
 Clerk


Date: 6/27/2019
                                                                          USA or other
   Pro Se             Retained         CJA                   FPD          Federal Agency
                                                                       (Appeal Fee Exempt)

Case No: 15-cr-00395-REB                                       Amended Notice of Appeal
                                                               Other pending appeals
Date Filed: 06/27/2019                                         Transferred Successive
                                                               §2254 or §2255
Appellant: Alan Alonzo Williams                                Supplemental Record

Pro Se Appellant:
        IFP forms mailed/given                Motion IFP pending          Appeal fee paid
                                              IFP denied                  Appeal fee not paid

Retained Counsel:
         Appeal fee paid               Appeal fee not paid                Motion IFP filed

 The Preliminary Record on Appeal is hereby transmitted to the Tenth Circuit Court of
 Appeals. Please refer to the forms, procedures, and requirements for ordering
 transcripts, preparing docketing statements and briefs, and designations of the record
 that are found on the Tenth Circuit’s website, www.ca10.uscourts.gov.

 If not already completed, either an appeal fee payment for filing this case or filing of a
 motion to proceed in forma pauperis will be made to this District Court.

 The transcript order form must be filed in the District Court as well as the Court of Appeals
 within 14 days after the notice of appeal was filed with the District Court.


 If you have questions, please contact this office.

                                             Sincerely,

                                             JEFFREY P. COLWELL, CLERK

                                             by: s/A. Thomas
                                                  Deputy Clerk

 cc:      Clerk of the Court, Tenth Circuit Court of Appeals

Rev. 8/17/2017

                                                                                                   82
Case No.Case
         1:15-cr-00395-REB  Document
             1:15-cr-00395-REB       173-3
                               Document     filed Filed
                                         158-1    09/10/19   USDC
                                                        06/27/19  Colorado
                                                                 Page 1 of 14 pg 83 of
                                      145

                                                                                 APPEAL,TERMED
                    U.S. District Court − District of Colorado
                          District of Colorado (Denver)
        CRIMINAL DOCKET FOR CASE #: 1:15−cr−00395−REB All Defendants

   Case title: USA v. Williams                             Date Filed: 10/07/2015
                                                           Date Terminated: 06/21/2019

   Assigned to: Judge Robert E.
   Blackburn

   Defendant (1)
   Alan Alonzo Williams            represented by Matthew C. Golla
   TERMINATED: 06/21/2019                         Office of the Federal Public Defender−Denver
                                                  633 Seventeenth Street
                                                  Suite 1000
                                                  Denver, CO 80202
                                                  303−294−7002
                                                  Fax: 303−294−1192
                                                  Email: Matt_Golla@fd.org
                                                  TERMINATED: 07/19/2016
                                                  Designation: Public Defender or Community
                                                  Defender Appointment

                                                  Michael John Gallagher
                                                  Davis Graham & Stubbs, LLP−Denver
                                                  1550 17th Street
                                                  Suite 500
                                                  Denver, CO 80202
                                                  303−892−9400
                                                  Fax: 303−893−1379
                                                  Email: mike.gallagher@dgslaw.com
                                                  TERMINATED: 11/15/2017
                                                  Designation: CJA Appointment

                                                  Steven K. Jacobson
                                                  Collins & Rafik
                                                  1881 9th Street
                                                  #315
                                                  Boulder, CO 80302
                                                  303−444−9292
                                                  Fax: 303−447−0200
                                                  Email: steve@rafiklaw.com
                                                  ATTORNEY TO BE NOTICED
                                                  Designation: CJA Appointment

   Pending Counts                                 Disposition
   BANK FRAUD                                     84 months imprisonment. 5 years supervised release.
   (1)                                            $100 special assessment. $1,146,828.28 restitution.

   Highest Offense Level
   (Opening)
   Felony

   Terminated Counts                              Disposition
   BANK FRAUD                                     Dismissed.
   (2−4)

                                                                                                        83
Case No.Case
         1:15-cr-00395-REB  Document
             1:15-cr-00395-REB       173-3
                               Document     filed Filed
                                         158-1    09/10/19   USDC
                                                        06/27/19  Colorado
                                                                 Page 2 of 14 pg 84 of
                                      145


   Highest Offense Level
   (Terminated)
   Felony

   Complaints                                           Disposition
   None


   Plaintiff
   USA                                            represented by Linda S. Kaufman
                                                                 U.S. Attorney's Office−Denver
                                                                 1801 California Street
                                                                 Suite 1600
                                                                 Denver, CO 80202
                                                                 303−454−0100
                                                                 Fax: 454−0402
                                                                 Email: Linda.Kaufman@usdoj.gov
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED
                                                                 Designation: Federal Agency Attorney

                                                                  Julia K. Martinez
                                                                  U.S. Attorney's Office−Denver
                                                                  1801 California Street
                                                                  Suite 1600
                                                                  Denver, CO 80202
                                                                  303−454−0100
                                                                  Email: julia.martinez@usdoj.gov
                                                                  ATTORNEY TO BE NOTICED
                                                                  Designation: Federal Agency Attorney

                                                                  Rebecca Susan Weber
                                                                  U.S. Attorney's Office−Denver
                                                                  1801 California Street
                                                                  Suite 1600
                                                                  Denver, CO 80202
                                                                  303−454−0332
                                                                  Email: Rebecca.Weber@usdoj.gov
                                                                  ATTORNEY TO BE NOTICED
                                                                  Designation: Federal Agency Attorney

    Date Filed    #   Docket Text
    10/07/2015     1 INDICTMENT as to Alan Alonzo Williams (1) count(s) 1−4. (Attachments: # 1
                     Criminal Information Sheet) (mlace, ) (Entered: 10/08/2015)
    10/07/2015     2 RESTRICTED DOCUMENT − Level 4: as to Alan Alonzo Williams. (mlace, )
                     (Entered: 10/08/2015)
    10/07/2015     3 Arrest Warrant Issued in case as to Alan Alonzo Williams. (mlace, ) (Entered:
                     10/08/2015)
    03/18/2016     4 Arrest of Alan Alonzo Williams. Initial Appearance set for 3/18/2016 02:00 PM in
                     Courtroom A 501 before Magistrate Judge Michael E. Hegarty. (Text Only
                     entry)(nmarb, ) (Entered: 03/18/2016)
    03/18/2016     5 COURTROOM MINUTES/MINUTE ENTRY for proceedings held before Magistrate
                     Judge Michael E. Hegarty: Initial Appearance as to Alan Alonzo Williams held on
                     3/18/2016. Arraignment, Detention Hearing, and Discovery Hearing set for 3/23/2016
                     10:00 AM in Courtroom C201 before Magistrate Judge Kathleen M. Tafoya.
                     Defendant present in custody, Defendant advised, Federal Public Defender appointed,
                     Defendant remanded, (Total time: 3 mins, Hearing time: 2:08−2:11 p.m.)
                                                                                                           84
Case No.Case
         1:15-cr-00395-REB  Document
             1:15-cr-00395-REB       173-3
                               Document     filed Filed
                                         158-1    09/10/19   USDC
                                                        06/27/19  Colorado
                                                                 Page 3 of 14 pg 85 of
                                      145


                     APPEARANCES: Linda Kaufman on behalf of the Government, Michelle Sinaka on
                     behalf of pretrial. FTR: Courtroom A501. (mdave, ) Text Only Entry (Entered:
                     03/18/2016)
    03/18/2016    6 CJA 23 Financial Affidavit by Alan Alonzo Williams. (mdave, ) (Entered: 03/18/2016)
    03/18/2016    7 ORDER APPOINTING FEDERAL PUBLIC DEFENDER as to Alan Alonzo
                    Williams by Magistrate Judge Michael E. Hegarty on 03/18/2016. Text Only Entry
                    (mdave, ) (Entered: 03/18/2016)
    03/22/2016    8 NOTICE OF ATTORNEY APPEARANCE: Matthew C. Golla appearing for Alan
                    Alonzo Williams Attorney Matthew C. Golla added to party Alan Alonzo Williams
                    (pty:dft) (Golla, Matthew) (Entered: 03/22/2016)
    03/22/2016   13 NOTICE OF NONCOMPLIANCE WITH COURT RULES/PROCEDURES: re: 8
                    Notice of Attorney Appearance − Defendant :Matthew C. Golla has failed to comply
                    with D.C.COLO.LAttyR 5(c) and 3.5 of the Electronic Case Filing Procedures
                    (Criminal Cases), which requires an attorney to notify the court of a change in contact
                    information within five days of the change. Counsel must file a notice of change of
                    contact information in all active cases and submit a change of contact information
                    form through the Attorney Services Portal Account. Failure in the future to follow
                    these procedures may lead to mandatory CM/ECF training, or action by the court.
                    Email address on document does not match CM/ECF information. (Text Only Entry)
                    (cmira, ) (Entered: 03/24/2016)
    03/23/2016    9 COURTROOM MINUTES for Arraignment, Discovery, and Detention hearing as to
                    Alan Alonzo Williams held on 3/23/2016 before Magistrate Judge Kathleen M.
                    Tafoya. Defendant present in custody. Plea of NOT GUILTY entered by defendant.
                    Defendant is not contesting detention. Discovery memorandum executed. Defendant
                    detained and remanded. Counsel is directed to chambers for further dates. (Total time:
                    4 mins, Hearing time: 1006−1010)

                     APPEARANCES: Linda Kaufman on behalf of the Government, Natalie Stricklin on
                     behalf of the defendant, Pat Hanley on behalf of pretrial. FTR: KMT C201. (sgrim)
                     Text Only Entry (Entered: 03/23/2016)
    03/23/2016   10 Discovery Conference Memorandum and ORDER: Estimated Trial Time − 4 days as
                    to Alan Alonzo Williams by Magistrate Judge Kathleen M. Tafoya on 3/23/16. (sgrim)
                    (Entered: 03/23/2016)
    03/23/2016   11 ORDER OF DETENTION as to Alan Alonzo Williams by Magistrate Judge Kathleen
                    M. Tafoya on 3/23/16. (sgrim) (Entered: 03/23/2016)
    03/23/2016   12 TRIAL PREPARATION CONFERENCE ORDER as to Alan Alonzo Williams. That
                    all non− CJA1 pretrial motions shall be filed by April 7, 2015; any pretrial motion that
                    the court determines should be set for hearing shall be set for hearing during a
                    telephonic (non−appearance) setting conference set for 4/22/2016 10:00 AM ; Jury
                    Trial set for 5/23/2016 08:30 AM in Courtroom A1002 before Judge Robert E.
                    Blackburn. That the court reserves four (4) days for trial; Trial Preparation Conference
                    set for 5/20/2016 at 02:00 PM in Courtroom A1001 before Judge Robert E. Blackburn,
                    by Judge Robert E. Blackburn on 3/23/2016. (evana, ) (Entered: 03/23/2016)
    03/24/2016   14 MOTION to Disclose Grand Jury Material to Defendant by USA as to Alan Alonzo
                    Williams. (Attachments: # 1 Proposed Order (PDF Only))(Kaufman, Linda) (Entered:
                    03/24/2016)
    03/24/2016   15 NOTICE OF ATTORNEY APPEARANCE: Matthew C. Golla (amended to reflect
                    correct contact information) appearing for Alan Alonzo Williams (Golla, Matthew)
                    (Entered: 03/24/2016)
    03/25/2016   16 ORDER Granting 14 Plaintiff's Motion To Disclose Matters Occuring [sic]
                    BeforeGrand Jury to Defendant as to Alan Alonzo Williams (1). Signed by Judge
                    Robert E. Blackburn on 3/25/2016. (cmira) (Entered: 03/25/2016)
    04/07/2016   18 Unopposed MOTION to Continue Pretrial Motions Deadlines by Alan Alonzo
                    Williams. (Golla, Matthew) (Entered: 04/07/2016)

                                                                                                               85
Case No.Case
         1:15-cr-00395-REB  Document
             1:15-cr-00395-REB       173-3
                               Document     filed Filed
                                         158-1    09/10/19   USDC
                                                        06/27/19  Colorado
                                                                 Page 4 of 14 pg 86 of
                                      145

    04/13/2016   19 MINUTE ORDER granting 18 Motion to Continue as to Alan Alonzo Williams (1) by
                    Judge Robert E. Blackburn on 4/13/16. Pretrial motions may be filed by April 17,
                    2016; a response to a pretrial motion shall be filed within fourteen (14) days of the
                    filing of the corresponding pretrial motion. Text Only Entry (rebsec) (Entered:
                    04/13/2016)
    04/15/2016   20 Unopposed MOTION to Exclude 120 Days from Speedy Trial Act by Alan Alonzo
                    Williams. (Golla, Matthew) (Entered: 04/15/2016)
    04/25/2016   21 MINUTE ORDER Setting Hearing on Motion as to Alan Alonzo Williams. 20
                    Defendant's Unopposed Motion for an Exclusion of 120 Days from the Speedy Trial
                    Act; Motion Hearing set for 5/6/2016 02:00 PM in Courtroom A1001 before Judge
                    Robert E. Blackburn. By Judge Robert E. Blackburn on 4/25/16. (kfinn) (Entered:
                    04/25/2016)
    05/02/2016   22 MINUTE ORDER as to Alan Alonzo Williams re 20 Unopposed MOTION to Exclude
                    120 Days from Speedy Trial Act filed by Alan Alonzo Williams by Judge Robert E.
                    Blackburn on 5/2/16. Motion Hearing reset for 5/6/2016 at 10:30 AM in Courtroom
                    A1001 before Judge Robert E. Blackburn. (rebsec) (Entered: 05/02/2016)
    05/06/2016   23 MINUTE ENTRY for Motions Hearing held before Judge Robert E. Blackburn as to
                    Alan Alonzo Williams on 5/6/2016. Granting 20 Defendant's Unopposed Motion for
                    an Exclusion of 120 Days from the Speedy Trial Act. The time from and including
                    today through and including October 3, 2016 is excluded from the time for a speedy
                    trial. Any non−CJA pretrial motions shall be filed by August 8, 2016, and any
                    corresponding responses shall be filed by August 26, 2016. A further Status
                    Conference set for 9/22/2016 01:15 PM in Courtroom A1001 before Judge Robert E.
                    Blackburn. Defendant remanded. Hearing concluded. Court Reporter: Gwen Daniel.
                    (kfinn) (Entered: 05/06/2016)
    07/15/2016   24 MOTION to Withdraw as Attorney and to Appoint New Counsel from the Criminal
                    Justice Act Panel by Matthew C. Golla by Alan Alonzo Williams. (Golla, Matthew)
                    (Entered: 07/15/2016)
    07/18/2016   25 MEMORANDUM regarding 24 MOTION to Withdraw as Attorney and to Appoint
                    New Counsel from the Criminal Justice Act Panel by Matthew C. Golla filed by Alan
                    Alonzo Williams. Motion referred to Magistrate Judge Michael J. Watanabe. By Judge
                    Robert E. Blackburn on 7/18/16. Text Only Entry (rebsec) (Entered: 07/18/2016)
    07/19/2016   26 MINUTE ORDER; granting 24 Motion to Withdraw as Attorney. Matthew C. Golla
                    withdrawn from case as to Alan Alonzo Williams (1). It is FURTHER ORDERED that
                    substitute counsel from the CJA Panel is appointed to represent Defendant Alan
                    Alonzo Williams, by Magistrate Judge Michael J. Watanabe on 7/19/16. (morti, )
                    (Entered: 07/19/2016)
    07/26/2016   27 NOTICE OF ATTORNEY APPEARANCE: Michael John Gallagher appearing for
                    Alan Alonzo Williams Attorney Michael John Gallagher added to party Alan Alonzo
                    Williams (pty:dft) (Gallagher, Michael) (Entered: 07/26/2016)
    08/08/2016   28 Unopposed MOTION for Extension of Time to File Pre−Trial Motions Deadlines and
                    Exclude Time Under the Speedy Trial Act by Alan Alonzo Williams. (Attachments: # 1
                    Proposed Order (PDF Only) Defendant's Unopposed Motion to Extend Pre−Trial
                    Motions Deadlines and Exclude Time Under the Speedy Trial Act)(Gallagher,
                    Michael) (Entered: 08/08/2016)
    08/19/2016   29 MINUTE ORDER as to Alan Alonzo Williams re 28 Unopposed MOTION for
                    Extension of Time to File Pre−Trial Motions Deadlines and Exclude Time Under the
                    Speedy Trial Act filed by Alan Alonzo Williams by Judge Robert E. Blackburn on
                    8/19/16. Telephone Conference set for 8/23/2016 at 9:30 AM before Judge Robert E.
                    Blackburn to set the motion for hearing. (rebsec) (Entered: 08/19/2016)
    08/23/2016   30 MINUTE ORDER Setting Hearing on Motion as to Alan Alonzo Williams on 28
                    Unopposed MOTION for Extension of Time to File Pre−Trial Motions Deadlines and
                    Exclude Time Under the Speedy Trial Act: set for 8/24/2016 11:00 AM in Courtroom
                    A1001 before Judge Robert E. Blackburn. By Judge Robert E. Blackburn on 8/23/16.
                    (kfinn) (Entered: 08/23/2016)


                                                                                                            86
Case No.Case
         1:15-cr-00395-REB  Document
             1:15-cr-00395-REB       173-3
                               Document     filed Filed
                                         158-1    09/10/19   USDC
                                                        06/27/19  Colorado
                                                                 Page 5 of 14 pg 87 of
                                      145

    08/24/2016   31 MINUTE ENTRY for Motion Hearing held before Judge Robert E. Blackburn as to
                    Alan Alonzo Williams held on 8/24/2016. The Defendant's Unopposed Motion to
                    Extend Pre−Trial Motions Deadlines and Exclude Time Under the Speedy Trial Act 28
                    is GRANTED; the time from and including October 3, 2016 through and including
                    October 13, 2016 is excluded from the time for a speedy trial under the Speedy Trial
                    Act of 1974; any non−CJA pretrial motions shall be filed by August 29, 2016, and any
                    corresponding responses shall be filed by September 16, 2016; the Status Conference
                    now set September 22, 2016 is vacated and continued to October 13, 2016,
                    commencing at 1:30 p.m. Defendant remanded. Hearing concluded. Court Reporter:
                    Julie Thomas. (kfinn) (Entered: 08/24/2016)
    10/12/2016   32 Unopposed MOTION to Continue Status Conference and Exclude Time Under the
                    Speedy Trial Act by Alan Alonzo Williams. (Attachments: # 1 Proposed Order (PDF
                    Only))(Gallagher, Michael) (Entered: 10/12/2016)
    10/12/2016   33 MINUTE ORDER granting in part and taking under advisement 32 Motion to
                    Continue as to Alan Alonzo Williams (1) by Judge Robert E. Blackburn on 10/12/16.
                    Telephone Conference to Judge Blackburn's chambers at 303−335−2350 set for
                    10/18/2016 at 10:00 AM to reset the status conference. The court will issue a separate
                    order addressing excludable time under the Speedy Trial Act. (rebsec) (Entered:
                    10/12/2016)
    10/14/2016   34 ORDER Excluding Additional Time Under the Speedy Trial Act. Ordered That
                    Defendant's Unopposed Motion To Continue Status Conference andExclude Time
                    under the Speedy Trial Act [# 32 ] is GRANTED insofar as it requests the exclusion of
                    additional time for a speedy trial. By Judge Robert E. Blackburn on 10/14/2016.
                    (agarc, ) (Entered: 10/14/2016)
    10/19/2016   35 MINUTE ORDER as to Alan Alonzo Williams by Judge Robert E. Blackburn on
                    10/19/16. Status Conference set for 11/10/2016 at 9:00 AM in Courtroom A1001
                    before Judge Robert E. Blackburn. (rebsec) (Entered: 10/19/2016)
    11/08/2016   36 Unopposed MOTION to Continue Status Conference, Unopposed MOTION to
                    Exclude Time Under the Speedy Trial Act by Alan Alonzo Williams. (Attachments: #
                    1 Proposed Order (PDF Only) [Proposed] Order Granting Defendant's Unopposed
                    Motion to Continue Status Conference and Exclude Time Under the Speedy Trial
                    Act)(Gallagher, Michael) (Entered: 11/08/2016)
    11/09/2016   37 MINUTE ORDER Granting in part 36 Defendant's Unopposed Motion To Continue
                    Status Conference and Exclude Time Under the Speedy Trial Act. Status conference
                    scheduled for Thursday, November 10, 2016, at 9:00 a.m., is vacated and continued
                    without date pending further order of court. Telephonic (non−appearance) Setting
                    Conference set for 11/15/2016 at 11:00 AM to reset the sentencing hearing. By Judge
                    Robert E. Blackburn on 11/9/2016. (cmira) (Entered: 11/09/2016)
    11/15/2016   38 MINUTE ORDER as to Alan Alonzo Williams re 36 Unopposed MOTION to
                    Continue Status ConferenceUnopposed MOTION to Exclude Time Under the Speedy
                    Trial Act filed by Alan Alonzo Williams by Judge Robert E. Blackburn on 11/15/16.
                    Status Conference/Motion Hearing set for 11/17/2016 at 11:00 AM in Courtroom
                    A1001 before Judge Robert E. Blackburn. (rebsec) (Entered: 11/15/2016)
    11/17/2016   39 MINUTE ENTRY for Motion Hearing held before Judge Robert E. Blackburn as to
                    Alan Alonzo Williams on 11/17/2016. Granting 36 Motion to Exclude as to Alan
                    Alonzo Williams (1); The time from and including November 14, 2016 through and
                    including January 12, 2017 is excluded from the time for a speedy trial; Status
                    Conference set for 1/12/2017 09:00 AM in Courtroom A1001 before Judge Robert E.
                    Blackburn. Defendant remanded. Hearing concluded. Court Reporter: Tracy Weir.
                    (kfinn) (Entered: 11/17/2016)
    11/17/2016   40 Utility Setting/Resetting Deadlines/Hearings as to Alan Alonzo Williams : 39 Status
                    Conference set for 1/12/2017 09:00 AM in Courtroom A1001 before Judge Robert E.
                    Blackburn. (kfinn) (Entered: 11/17/2016)
    01/10/2017   41 NOTICE of Disposition by Alan Alonzo Williams (Gallagher, Michael) (Entered:
                    01/10/2017)
    01/10/2017   42 MINUTE ORDER as to Alan Alonzo Williams re 41 Notice of Disposition by Judge
                    Robert E. Blackburn on 1/10/17. Status conference set 1/12/2017 at 9:00 AM is
                                                                                                             87
Case No.Case
         1:15-cr-00395-REB  Document
             1:15-cr-00395-REB       173-3
                               Document     filed Filed
                                         158-1    09/10/19   USDC
                                                        06/27/19  Colorado
                                                                 Page 6 of 14 pg 88 of
                                      145

                     converted to a Change of Plea Hearing in Courtroom A1001 before Judge Robert E.
                     Blackburn. (rebsec) (Entered: 01/10/2017)
    01/12/2017   43 MINUTE ENTRY for Change of Plea Hearing held before Judge Robert E. Blackburn
                    as to Alan Alonzo Williams on 1/12/2017. Plea entered by Alan Alonzo Williams (1)
                    Guilty to Count 1. Sentencing set for 4/6/2017 10:00 AM in Courtroom A1001 before
                    Judge Robert E. Blackburn. Defendant remanded. Hearing concluded. Court Reporter:
                    Tracy Weir. (kfinn) (Entered: 01/12/2017)
    01/12/2017   44 PLEA AGREEMENT as to Alan Alonzo Williams. (kfinn) (Entered: 01/12/2017)
    01/12/2017   45 STATEMENT IN ADVANCE OF PLEA OF GUILTY by Defendant Alan Alonzo
                    Williams. (kfinn) (Entered: 01/12/2017)
    01/12/2017   46 FINDINGS OF FACT AND CONCLUSIONS OF LAW ON THE ENTRY OF A
                    PLEA OF GUILTY as to Alan Alonzo Williams. By Judge Robert E. Blackburn on
                    1/12/17. (kfinn) (Entered: 01/12/2017)
    02/01/2017   47 NOTICE of Change of Address/Contact Information (Kaufman, Linda) (Entered:
                    02/01/2017)
    03/01/2017   48 RESTRICTED PRESENTENCE REPORT first disclosure for attorney review as to
                    Alan Alonzo Williams (ntaka) (Entered: 03/01/2017)
    03/06/2017   49 Unopposed MOTION to Continue Sntencing Hearing by Alan Alonzo Williams.
                    (Attachments: # 1 Proposed Order (PDF Only))(Gallagher, Michael) (Entered:
                    03/06/2017)
    03/06/2017   50 MINUTE ORDER granting 49 Motion to Continue as to Alan Alonzo Williams (1) by
                    Judge Robert E. Blackburn on 3/6/17. Sentencing reset for 7/6/2017 at 10:00 AM in
                    Courtroom A1001 before Judge Robert E. Blackburn. (rebsec) (Entered: 03/06/2017)
    04/07/2017   51 OBJECTION/RESPONSE to Presentence Report 48 by USA as to Alan Alonzo
                    Williams (Kaufman, Linda) (Entered: 04/07/2017)
    04/07/2017   52 MOTION for Decrease for Acceptance of Responsibility by USA as to Alan Alonzo
                    Williams. (Kaufman, Linda) (Entered: 04/07/2017)
    04/07/2017   53 MOTION to Dismiss Counts by USA as to Alan Alonzo Williams. (Attachments: # 1
                    Proposed Order (PDF Only))(Kaufman, Linda) (Entered: 04/07/2017)
    06/01/2017   54 NOTICE OF ATTORNEY APPEARANCE Julia K. Martinez appearing for USA.
                    Attorney Julia K. Martinez added to party USA(pty:pla) (Martinez, Julia) (Entered:
                    06/01/2017)
    06/15/2017   55 OBJECTION/RESPONSE to Presentence Report 48 by Alan Alonzo Williams
                    (Gallagher, Michael) (Entered: 06/15/2017)
    06/15/2017   56 Second MOTION to Continue Sentencing Hearing by Alan Alonzo Williams.
                    (Attachments: # 1 Proposed Order (PDF Only))(Gallagher, Michael) (Entered:
                    06/15/2017)
    06/16/2017   57 MINUTE ORDER granting 56 Motion to Continue as to Alan Alonzo Williams (1).
                    Sentencing set July 6, 2017 is vacated and is reset for 8/17/2017 at 10:00 AM in
                    Courtroom A1001 before Judge Robert E. Blackburn. By Judge Robert E. Blackburn
                    on 6/16/17. Text Only Entry (rebsec) (Entered: 06/16/2017)
    08/03/2017   58 SENTENCING STATEMENT and Motion for Downward Departure and Variance by
                    Alan Alonzo Williams (Attachments: # 1 Exhibit)(Gallagher, Michael) (Entered:
                    08/03/2017)
    08/04/2017   59 Third MOTION to Continue Sentencing Hearing by Alan Alonzo Williams.
                    (Attachments: # 1 Proposed Order (PDF Only))(Gallagher, Michael) (Entered:
                    08/04/2017)
    08/08/2017   60 MINUTE ORDER granting 59 Motion to Continue as to Alan Alonzo Williams (1).
                    Sentencing is reset for 11/15/2017 at 11:00 AM in Courtroom A1001 before Judge
                    Robert E. Blackburn. No further continuances will be granted. By Judge Robert E.
                    Blackburn on 8/8/17. Text Only Entry (rebsec) (Entered: 08/08/2017)

                                                                                                         88
Case No.Case
         1:15-cr-00395-REB  Document
             1:15-cr-00395-REB       173-3
                               Document     filed Filed
                                         158-1    09/10/19   USDC
                                                        06/27/19  Colorado
                                                                 Page 7 of 14 pg 89 of
                                      145

    09/21/2017   61 CJA MOTION for Issuance of Subpoena in Forma Pauperis by Alan Alonzo Williams.
                    (Attachments: # 1 Appendix A, # 2 Appendix B, # 3 Proposed Order (PDF Only), # 4
                    Proposed Document Proposed Subpoena, # 5 Proposed Document Proposed
                    Subpoena)(Gallagher, Michael) Modified on 9/22/2017 to correct event text (athom, ).
                    (Entered: 09/21/2017)
    09/26/2017   62 ORDER granting 61 CJA Motion for Issuance of Subpoena in Forma Pauperis as to
                    Alan Alonzo Williams. By Judge Robert E. Blackburn on 09/26/2017. (athom, )
                    (Entered: 09/26/2017)
    09/26/2017   63 Subpoenas issued pursuant to 62 Order as to Alan Alonzo Williams. Text Only Entry
                    (athom, ) (Entered: 09/26/2017)
    10/26/2017   64 NOTICE OF ATTORNEY APPEARANCE Rebecca Susan Weber appearing for
                    USA. Attorney Rebecca Susan Weber added to party USA(pty:pla) (Weber, Rebecca)
                    (Entered: 10/26/2017)
    11/01/2017   65 RESTRICTED PRESENTENCE REPORT as to Alan Alonzo Williams (Attachments:
                    # 1 Exhibit A, # 2 Exhibit B)(ntaka) (Entered: 11/01/2017)
    11/01/2017   66 RESTRICTED ADDENDUM to Presentence Report 65 as to Alan Alonzo Williams
                    (Attachments: # 1 Exhibit A, # 2 Exhibit B)(ntaka) (Entered: 11/01/2017)
    11/02/2017   67 SENTENCING STATEMENT and Response to Defendant's Sentencing Memorandum
                    by USA as to Alan Alonzo Williams (Weber, Rebecca) (Entered: 11/02/2017)
    11/08/2017   68 SUPPLEMENT DEFENDANT'S SUPPLEMENTAL SENTENCING MEMORANDUM
                    to 67 Sentencing Statement, 66 Restricted Presentence Report Addendum by Alan
                    Alonzo Williams (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Gallagher, Michael)
                    (Entered: 11/08/2017)
    11/13/2017   69 SUPPLEMENT SENTENCING INFORMATION REGARDING HEALTH ISSUES to
                    68 Supplement by Alan Alonzo Williams (Attachments: # 1 Exhibit A, # 2 Exhibit B,
                    # 3 Exhibit C, # 4 Exhibit D)(Gallagher, Michael) (Entered: 11/13/2017)
    11/14/2017   70 MOTION to Withdraw as Attorney by Michael J. Gallagher by Alan Alonzo Williams.
                    (Gallagher, Michael) (Entered: 11/14/2017)
    11/15/2017   71 COURTROOM MINUTES for Sentencing Hearing as to Alan Alonzo Williams held
                    before Judge Robert E. Blackburn on 11/15/2017. Granting 70 Mr. Gallagher's Motion
                    to Withdraw. Mr. Gallagher is relieved of further duty or responsibility to represent
                    Mr. Williams in these criminal proceedings. Within 60 days, Mr. Williams shall file
                    his written position to request appointment of conflict−free counsel from the court's
                    CJA panel or the retention of private counsel. Status Conference set for 1/17/2018
                    09:00 AM in Courtroom A1001 before Judge Robert E. Blackburn. Defendant
                    remanded. Court Reporter: Tracy Weir. (ebuch) (Entered: 11/15/2017)
    11/16/2017   72 CERTIFICATE of Mailing/Service re 71 Courtroom Minutes to Alan Alonzo
                    Williams #43473−013, Englewood Federal Correctional Institution, Inmate
                    Mail/Parcels, 9595 West Quincy Avenue, Littleton, CO 80123. Text Only Entry.
                    (ebuch) (Entered: 11/16/2017)
    01/12/2018   73 Unopposed MOTION to Vacate Status Conference and Continue by Alan Alonzo
                    Williams. (Attachments: # 1 Envelope) (athom, ) (Entered: 01/12/2018)
    01/12/2018   74 NOTICE of Government's Position re 73 MOTION to Continue by USA as to Alan
                    Alonzo Williams (Weber, Rebecca) (Entered: 01/12/2018)
    01/17/2018   75 COURTROOM MINUTES for Status Conference as to Alan Alonzo Williams held
                    before Judge Robert E. Blackburn on 1/17/2018. ORDERED: 73 Defendant's Motion
                    to Continue GRANTED. Continued Status Conference set for 3/22/2018 at 10:00 AM
                    in Courtroom A1001 before Senior Judge Robert E. Blackburn, at which hearing the
                    defendant shall appear without further notice or order from the Court. Defendant
                    remanded. Court Reporter: Tracy Weir. (lrobe) (Entered: 01/17/2018)
    03/16/2018   76 MOTION to Appoint Counsel and Vacate Status Hearing by Alan Alonzo Williams.
                    (Attachments: # 1 Envelope) (athom, ) (Entered: 03/16/2018)


                                                                                                            89
Case No.Case
         1:15-cr-00395-REB  Document
             1:15-cr-00395-REB       173-3
                               Document     filed Filed
                                         158-1    09/10/19   USDC
                                                        06/27/19  Colorado
                                                                 Page 8 of 14 pg 90 of
                                      145

    03/16/2018   77 RESTRICTED DOCUMENT − Level 3: by Alan Alonzo Williams. (Attachments: # 1
                    Appendix A) (athom, ) (Entered: 03/16/2018)
    03/19/2018   78 MINUTE ORDER granting 76 Motion to Appoint Counsel as to Alan Alonzo
                    Williams (1). The status conference set March 22, 2018, at 10:00 a.m. is vacated and
                    continued pending further order of court. By Judge Robert E. Blackburn on 3/19/18.
                    Text Only Entry (rebsec) (Entered: 03/19/2018)
    03/21/2018   79 NOTICE OF ATTORNEY APPEARANCE: Steven K. Jacobson appearing for Alan
                    Alonzo Williams Attorney Steven K. Jacobson added to party Alan Alonzo Williams
                    (pty:dft) (Jacobson, Steven) (Entered: 03/21/2018)
    03/28/2018   80 MINUTE ORDER as to Alan Alonzo Williams. After conferring with counsel, a
                    Status Conference is set for 4/5/2018 at 11:00 AM in Courtroom A1001 before Judge
                    Robert E. Blackburn. By Judge Robert E. Blackburn on 3/28/18. Text Only Entry
                    (rebsec) (Entered: 03/28/2018)
    03/29/2018   81 Unopposed MOTION to Excuse Appearance by Alan Alonzo Williams. (Jacobson,
                    Steven) (Entered: 03/29/2018)
    03/30/2018   82 MINUTE ORDER: 81 Motion to Excuse as to Alan Alonzo Williams (1) is denied
                    because during the status conference now set April 5, 2018, the court intends to
                    discuss whether defense counsel has the time necessary to devote to this case, which
                    was filed October 7, 2015 and the change of plea hearing which was held on January
                    12, 2017, given his lengthy, prospective unavailability. By Judge Robert E. Blackburn
                    on 3/30/18. Text Only Entry (rebsec) (Entered: 03/30/2018)
    04/05/2018   83 COURTROOM MINUTES for Status Conference as to Alan Alonzo Williams held
                    before Senior Judge Robert E. Blackburn on 4/5/2018. Any motion for subpoenas or
                    subpoenas duces tecum due 4/13/2018. Motion to withdraw plea of guilty due by
                    4/20/2018. Defendant may file additional objections to the presentence investigation
                    report and/or revise or amend his existing motions by June 15, 2018. Any response by
                    the government or probation department due June 25, 2018. Matter set for further
                    proceedings on June 27, 2018, at 2:00 p.m., reserving the balance of the afternoon if
                    necessary. Defendant remanded. Court Reporter: Tracy Weir. (lrobe) (Entered:
                    04/05/2018)
    04/06/2018   84 TRANSCRIPT of Change of Plea as to Alan Alonzo Williams held on 1−12−17 before
                    Judge Blackburn. Pages: 1−31. <br><br> NOTICE − REDACTION OF
                    TRANSCRIPTS: Within seven calendar days of this filing, each party shall
                    inform the Court, by filing a Notice of Intent to Redact, of the party's intent to
                    redact personal identifiers from the electronic transcript of the court proceeding.
                    If a Notice of Intent to Redact is not filed within the allotted time, this transcript
                    will be made electronically available after 90 days. Please see the Notice of
                    Electronic Availability of Transcripts document at
                    www.cod.uscourts.gov.<br><br> Transcript may only be viewed at the court public
                    terminal or purchased through the Court Reporter/Transcriber prior to the 90 day
                    deadline for electronic posting on PACER. (tweir, ) (Entered: 04/06/2018)
    04/11/2018   85 Corrected TRANSCRIPT of Change of Plea as to Alan Alonzo Williams held on
                    1−12−17 before Judge Blackburn. Pages: 1−31. <br><br> NOTICE − REDACTION
                    OF TRANSCRIPTS: Within seven calendar days of this filing, each party shall
                    inform the Court, by filing a Notice of Intent to Redact, of the party's intent to
                    redact personal identifiers from the electronic transcript of the court proceeding.
                    If a Notice of Intent to Redact is not filed within the allotted time, this transcript
                    will be made electronically available after 90 days. Please see the Notice of
                    Electronic Availability of Transcripts document at
                    www.cod.uscourts.gov.<br><br> Transcript may only be viewed at the court public
                    terminal or purchased through the Court Reporter/Transcriber prior to the 90 day
                    deadline for electronic posting on PACER. (tweir, ) (Entered: 04/11/2018)
    04/12/2018   86 CJA Second MOTION for Issuance of Subpoena in Forma Pauperis by Alan Alonzo
                    Williams. (Attachments: # 1 Appendix A, # 2 Proposed Order (PDF Only) Proposed
                    order re Subpoena, # 3 Proposed Document Proposed Subpoena, # 4 Proposed
                    Document Proposed Subpoena)(Jacobson, Steven) Modified on 4/13/2018 to correct
                    event text (athom, ). (Entered: 04/12/2018)


                                                                                                             90
Case No.Case
         1:15-cr-00395-REB  Document
             1:15-cr-00395-REB       173-3
                               Document     filed Filed
                                         158-1    09/10/19   USDC
                                                        06/27/19  Colorado
                                                                 Page 9 of 14 pg 91 of
                                      145

    04/13/2018    87 Request to Substitute by Alan Alonzo Williams. (Attachments: # 1 CJA Attachment
                     Subpoena Ducas Tecum 1, # 2 CJA Attachment Subpoena Ducas Tecum 2)(Jacobson,
                     Steven) Modified on 4/13/2018 to correct event text (athom, ). (Entered: 04/13/2018)
    04/13/2018    88 ORDER granting 86 CJA Second Motion for Issuance of Subpoena in Forma Pauperis
                     as to Alan Alonzo Williams. By Judge Robert E. Blackburn on 04/13/2018. (athom, )
                     (Entered: 04/13/2018)
    04/13/2018    89 Subpoenas issued pursuant to 88 Order as to Alan Alonzo Williams. Text Only Entry
                     (athom, ) (Entered: 04/13/2018)
    05/02/2018    90 CJA Third MOTION for Issuance of Subpoena in Forma Pauperis by Alan Alonzo
                     Williams. (Attachments: # 1 Appendix Subpoena Ducas Tecum, # 2 CJA Attachment
                     Subpoena Ducas Tecum)(Jacobson, Steven) Modified on 5/8/2018 to correct event text
                     (athom, ). (Entered: 05/02/2018)
    05/03/2018    91 RESTRICTED DOCUMENT − Level 3: as to Alan Alonzo Williams . (evana, )
                     Modified on 5/8/2018 to correct event text and to add a level 3 restriction (athom, ).
                     (Entered: 05/04/2018)
    05/03/2018    92 RESTRICTED DOCUMENT − Level 3 as to Alan Alonzo Williams . (evana, )
                     Modified on 5/8/2018 to correct event text and to add a level 3 restriction (athom, ).
                     (Entered: 05/04/2018)
    05/07/2018    93 CJA Renewed Second MOTION for Issuance of Subpoena in Forma Pauperis by Alan
                     Alonzo Williams. (Attachments: # 1 Appendix Renewed Appendix for SDT, # 2 CJA
                     Attachment Subpoenas DT to reissue)(Jacobson, Steven) Modified on 5/8/2018 to
                     correct event text (athom, ). (Entered: 05/07/2018)
    05/08/2018    94 ORDER granting 90 CJA Third Motion for Issuance of Subpoena in Forma Pauperis
                     as to Alan Alonzo Williams. By Judge Robert E. Blackburn on 05/08/2018. (athom, )
                     (Entered: 05/08/2018)
    05/08/2018    95 Subpoena issued pursuant to 94 Order as to Alan Alonzo Williams. Text Only Entry
                     (athom, ) (Entered: 05/08/2018)
    05/08/2018    96 ORDER granting 93 CJA Second Renewed Motion for Issuance of Subpoena in Forma
                     Pauperis as to Alan Alonzo Williams. By Judge Robert E. Blackburn on 05/08/2018.
                     (athom, ) (Entered: 05/08/2018)
    05/08/2018    97 Subpoenas issued pursuant to 96 Order as to Alan Alonzo Williams. Text Only Entry
                     (athom, ) (Entered: 05/08/2018)
    05/22/2018    98 RESTRICTED DOCUMENT − Level 3 as to Alan Alonzo Williams. (athom, )
                     (Entered: 05/23/2018)
    05/29/2018    99 RESTRICTED DOCUMENT − Level 3 as to Alan Alonzo Williams. (athom, )
                     (Entered: 05/30/2018)
    06/11/2018   100 Unopposed MOTION to Continue Sentencing and Due Date for Supplemental
                     Sentencing Argument by Alan Alonzo Williams. (Attachments: # 1 Exhibit Surgery, #
                     2 Exhibit Knee)(Jacobson, Steven) (Entered: 06/11/2018)
    06/12/2018   101 MINUTE ORDER granting 100 Motion to Continue as to Alan Alonzo Williams (1).
                     A telephonic (non−appearance) setting conference is set for 6/27/2018 at 02:00 PM to
                     reset the sentencing hearing. Counsel for the defendant shall arrange, initiate, and
                     coordinate the conference call to chambers at 303−335−2350 to facilitate the setting
                     conference. By Judge Robert E. Blackburn on 6/12/18. Text Only Entry (rebsec)
                     (Entered: 06/12/2018)
    06/20/2018   102 CJA Renewed MOTION for Issuance of Subpoena in Forma Pauperis by Alan Alonzo
                     Williams. (Attachments: # 1 CJA Attachment Appendix, # 2 CJA Attachment
                     Subpoena Ducas Tecum)(Jacobson, Steven) Modified on 6/21/2018 to correct event
                     text (athom, ). (Entered: 06/20/2018)
    06/20/2018   103 CJA Fourth MOTION for Issuance of Subpoena in Forma Pauperis by Alan Alonzo
                     Williams. (Attachments: # 1 CJA Attachment Appendix, # 2 CJA Attachment
                     Subpoena Ducas Tecum)(Jacobson, Steven) Modified on 6/21/2018 to correct event
                     text (athom, ). (Entered: 06/20/2018)

                                                                                                              91
Case No. 1:15-cr-00395-REB
      Case                  Document
            1:15-cr-00395-REB        173-3
                               Document    filedFiled
                                        158-1    09/10/19   USDC
                                                      06/27/19   Colorado
                                                               Page 10 of 14pg 92 of
                                      145

    06/22/2018   104 ORDER granting 102 CJA Renewed Motion for Issuance of Subpoena in Forma
                     Pauperis as to Alan Alonzo Williams. By Judge Robert E. Blackburn on 06/22/2018.
                     (athom, ) (Entered: 06/22/2018)
    06/22/2018   105 Subpoenas issued pursuant to 104 Order as to Alan Alonzo Williams. Text Only Entry
                     (athom, ) (Entered: 06/22/2018)
    06/22/2018   106 ORDER granting 103 CJA Fourth Motion for Issuance of Subpoena in Forma Pauperis
                     as to Alan Alonzo Williams. By Judge Robert E. Blackburn on 06/22/2018. (athom, )
                     (Entered: 06/22/2018)
    06/22/2018   107 Subpoenas issued pursuant to 106 Order as to Alan Alonzo Williams. Text Only Entry
                     (athom, ) (Entered: 06/22/2018)
    06/28/2018   108 MINUTE ORDER as to Alan Alonzo Williams. After conferring with counsel, and by
                     agreement of all, the Sentencing Hearing is reset for 9/26/2018 at 11:00 AM in
                     Courtroom A1001 before Judge Robert E. Blackburn. By Judge Robert E. Blackburn
                     on 6/28/18. Text Only Entry (rebsec) (Entered: 06/28/2018)
    07/02/2018   109 RESTRICTED DOCUMENT − Level 3 as to Alan Alonzo Williams. (athom, )
                     (Entered: 07/03/2018)
    09/07/2018   110 SENTENCING STATEMENT Second Supplemental by Alan Alonzo Williams
                     (Attachments: # 1 Exhibit Loan, # 2 Exhibit Loan, # 3 Exhibit Wells Fargo documents,
                     # 4 Exhibit Wells Fargo documents, # 5 Exhibit Wells Fargo documents, # 6 Exhibit
                     Sam Club Records, # 7 Exhibit Certificate, # 8 Exhibit Orthopedic Letter)(Jacobson,
                     Steven) (Entered: 09/07/2018)
    09/07/2018   111 Unopposed MOTION to Continue Defendants Fourth by Alan Alonzo Williams.
                     (Jacobson, Steven) (Entered: 09/07/2018)
    09/11/2018   112 MINUTE ORDER granting 111 Motion to Continue as to Alan Alonzo Williams (1).
                     The sentencing hearing set 9/26/18 @ 11:00 a.m. is vacated and continued pending
                     further order of court. A telephonic (non−appearance) setting conference is set for
                     9/26/2018 at 11:00 AM. Counsel for the defendant shall arrange, initiate, and
                     coordinate the conference call to chambers at 303−335−2350 to facilitate the setting
                     conference. By Judge Robert E. Blackburn on 9/11/18. Text Only Entry (rebsec)
                     (Entered: 09/11/2018)
    09/26/2018   113 MINUTE ORDER by Judge Robert E. Blackburn on 9/26/18 as to Alan Alonzo
                     Williams. After conferring with counsel, and by agreement of all, the Sentencing is set
                     for 12/18/2018 at 11:00 AM in Courtroom A1001 before Judge Robert E. Blackburn.
                     Text Only Entry (rebsec) (Entered: 09/26/2018)
    10/29/2018   114 MOTION for Order for Medical Evaluation by Alan Alonzo Williams. (Jacobson,
                     Steven) (Entered: 10/29/2018)
    11/28/2018   115 Fifth MOTION to Continue Sentencing and Renewed Request for an Order Directing
                     Facility to Provide a Medical Evaluation by Alan Alonzo Williams. (Jacobson,
                     Steven) (Entered: 11/28/2018)
    12/04/2018   116 Additional Information Relating to 115 Fifth MOTION to Continue Sentencing and
                     Renewed Request for an Order Directing Facility to Provide a Medical Evaluation by
                     Alan Alonzo Williams. (Jacobson, Steven) Modified on 12/5/2018 to correct event text
                     and create linkage (athom, ). (Entered: 12/04/2018)
    12/06/2018   117 RESTRICTED REVISED PRESENTENCE REPORT as to Alan Alonzo Williams
                     (Attachments: # 1 Exhibit A, # 2 Exhibit B); (1st Addendum 66 )(sdean, ) (Entered:
                     12/06/2018)
    12/06/2018   118 RESTRICTED ADDENDUM to Presentence Report 117 as to Alan Alonzo Williams
                     (Attachments: # 1 Exhibit A)(sdean, ) (Entered: 12/06/2018)
    12/13/2018   119 Additional Grounds in Support of Pending 115 Fifth MOTION to Continue Sentencing
                     and Renewed Request for an Order Directing Facility to Provide a Medical
                     Evaluation by Alan Alonzo Williams. (Jacobson, Steven) Modified on 12/13/2018 to
                     correct event text and create linkage (athom, ). (Entered: 12/13/2018)


                                                                                                               92
Case No. 1:15-cr-00395-REB
      Case                  Document
            1:15-cr-00395-REB        173-3
                               Document    filedFiled
                                        158-1    09/10/19   USDC
                                                      06/27/19   Colorado
                                                               Page 11 of 14pg 93 of
                                      145

    12/13/2018   120 MINUTE ORDER by Judge Robert E. Blackburn on 12/13/18 as to Alan Alonzo
                     Williams re 113 Minute Order Setting Sentencing: due to the unavailability of Judge
                     Blackburn's courtroom (A1001), the Sentencing set for 12/18/2018 at 11:00 AM will
                     now be held in Courtroom A 702 before Judge Robert E. Blackburn. Text Only Entry
                     (rebsec) (Entered: 12/13/2018)
    12/17/2018   124 WITHDRAWN Letter requesting that counsel be withdrawn by Alan Alonzo
                     Williams. (Attachments: # 1 Envelope) (athom, ) Modified on 1/3/2019 to withdraw
                     pursuant to 129 Minute Order (agarc, ). (Entered: 12/19/2018)
    12/18/2018   121 COURTROOM MINUTES for Motion Hearing as to Alan Alonzo Williams held
                     before Judge Robert E. Blackburn on 12/18/2018. ORDERED: 115 Defendant's Fifth
                     Motion to Continue is granted. Sentencing reset for 3/27/2019 at 1:30 PM in
                     Courtroom A1001 before Judge Robert E. Blackburn. Court Reporter: Tracy Weir.
                     (lrobe) (Entered: 12/18/2018)
    12/18/2018   122 ORDER Granting 115 Motion to Continue as to Alan Alonzo Williams re 121
                     Courtroom Minutes. By 1/3/2019, the warden of FCI Englewood (9595 West Quincy
                     Avenue, Littleton, Colorado 80123) shall advise the court in writing about when the
                     defendant shall receive the medical treatment, including any surgery, reasonably
                     necessary to address the medical condition and needs of the defendant. By Judge
                     Robert E. Blackburn on 12/18/2018. (athom, ) (Entered: 12/19/2018)
    12/19/2018   123 Certificate of Service by Certified Mail by Clerk of Court re 122 Order as to Alan
                     Alonzo Williams. Copy of 122 Order mailed to FCI Englewood, ATTN: Warden, 9595
                     West Quincy Avenue, Littleton, CO 80123. (athom, ) (Entered: 12/19/2018)
    12/20/2018   125 MINUTE ORDER By Judge Robert E. Blackburn on 12/20/18 as to Alan Alonzo
                     Williams re 124 MOTION that counsel be withdrawn filed by Alan Alonzo Williams.
                     Motion Hearing is set for 1/15/2019 at 01:30 PM in Courtroom A1001 before Judge
                     Robert E. Blackburn. Text Only Entry (rebsec) (Entered: 12/20/2018)
    12/20/2018   126 MOTION to Excuse Appearance and Allow Appearance by Phone by Alan Alonzo
                     Williams. (Jacobson, Steven) (Entered: 12/20/2018)
    12/20/2018   127 MINUTE ORDER denying as moot 126 Motion to Excuse as to Alan Alonzo Williams
                     (1). The Motion Hearing re 124 MOTION that counsel be withdrawn filed by Alan
                     Alonzo Williams set 1/15/2019 is vacated and reset for 1/3/2019 at 11:00 AM in
                     Courtroom A1001 before Judge Robert E. Blackburn. By Judge Robert E. Blackburn
                     on 12/20/18. Text Only Entry (rebsec) (Entered: 12/20/2018)
    12/28/2018   128 Letter requesting to withdraw 124 Motion and to vacate hearing by Alan Alonzo
                     Williams. (Attachments: # 1 Envelope) (athom, ) (Entered: 12/28/2018)
    01/02/2019   129 MINUTE ORDER That the plaintiff's request to withdraw his request that counsel be
                     withdrawn, as set forth in his Letter 128 , filed December 28, 2018, is granted; That
                     the relief requested in plaintiff's previous Letter 124 , filed December 17, 2018, is
                     denied as moot; and That the hearing scheduled for Thursday, January 3, 2019, at
                     11:00 a.m., in this matter is vacated, by Judge Robert E. Blackburn on 1/2/2019.
                     (evana, ) (Entered: 01/02/2019)
    01/07/2019   130 Certified Mail Receipt re 123 Certificate of Service as to Alan Alonzo Williams.
                     (athom, ) (Entered: 01/10/2019)
    02/08/2019   131 ORDER TO SHOW CAUSE as to Alan Alonzo Williams. On or before 2/20/2019,
                     Richard Hudgins, Warden of FCI Englewood, shall show cause in writing why he
                     should not be held in contempt of court for his failure to comply fully with the Order
                     Granting Motion To Continue [# 122 ] issued by this court. If the Warden seeks to
                     establish facts demonstrating the reasons for his noncompliance with the Order
                     Granting Motion To Continue [# 122 ], he shall file a sworn affidavit averring the facts
                     on which he relies. After review of the response by the Warden to this Order To Show
                     Cause, the court will determine if a contempt hearing is necessary. By Judge Robert E.
                     Blackburn on 02/08/2019. (athom, ) (Entered: 02/08/2019)
    02/08/2019   132 Certificate of Service by Certified Mail by Clerk of Court re 131 Order to Show
                     Cause, 122 Order as Alan Alonzo Williams. Copy of 131 Order to Show Cause and
                     122 Order mailed to FCI Englewood, ATTN: Richard Hudgins, Warden, 9595 West
                     Quincy Avenue, Littleton, CO 80123. (athom, ) (Entered: 02/08/2019)
                                                                                                                93
Case No. 1:15-cr-00395-REB
      Case                  Document
            1:15-cr-00395-REB        173-3
                               Document    filedFiled
                                        158-1    09/10/19   USDC
                                                      06/27/19   Colorado
                                                               Page 12 of 14pg 94 of
                                      145

    02/28/2019   133 Unopposed MOTION to Continue by Alan Alonzo Williams. (Jacobson, Steven)
                     (Entered: 02/28/2019)
    03/06/2019   134 ORDER TO SHOW CAUSE as to Alan Alonzo Williams. On or before 3/18/2019,
                     Richard Hudgins, Warden of FCI Englewood, shall show cause in writing why he
                     should not be held in contempt of court for his failure to comply fully with the Order
                     Granting Motion To Continue [# 122 ] issued by this court. By Judge Robert E.
                     Blackburn on 03/06/2019. (athom, ) (Entered: 03/06/2019)
    03/07/2019   135 Certificate of Service as to Alan Alonzo Williams re 134 Order to Show Cause, 122
                     Order, (Attachments: # 1 USMS Form) (athom, ) (Entered: 03/07/2019)
    03/21/2019   136 MINUTE ORDER by Judge Robert E. Blackburn on 3/21/19 granting 133 Sixth
                     Motion to Continue Sentencing as to Alan Alonzo Williams (1). The Sentencing
                     Hearing set 3/27/19 @ 1:30 p.m. is vacated and continued pending further order. A
                     Telephonic (non−appearance) Setting Conference is set for 3/27/2019 at 01:30 PM.
                     Counsel for the defendant shall arrange, initiate, and coordinate the conference call to
                     chambers at 303−335−2350 to facilitate the setting conference. Text Only Entry
                     (rebsec) (Entered: 03/21/2019)
    03/22/2019   137 WITHDRAWN − Letter requesting that Steven K. Jacobson be withdrawn as counsel
                     by Alan Alonzo Williams. (Attachments: # 1 Envelope) (athom, ) Modified on
                     4/4/2019 to withdraw pursuant to 141 Order (athom, ). (Entered: 03/22/2019)
    03/27/2019   138 MINUTE ORDER by Judge Robert E. Blackburn on 3/27/19 as to Alan Alonzo
                     Williams re 137 MOTION for Order filed by Alan Alonzo Williams. After conferring
                     with counsel, and by agreement of all, a Motion Hearing is set for 4/25/2019 at 10:00
                     AM in Courtroom A1001 before Judge Robert E. Blackburn. Text Only Entry (rebsec)
                     (Entered: 03/27/2019)
    03/29/2019   139 Letter requesting that 137 Letter be withdrawn by Alan Alonzo Williams.
                     (Attachments: # 1 Envelope) (athom, ) (Entered: 04/01/2019)
    04/02/2019   140 Return of Service upon Warden Richard Hudgins, FCI − Englewood on 03/26/2019 re
                     135 Certificate of Service. (athom, ) (Entered: 04/02/2019)
    04/03/2019   141 ORDER by Judge Robert E. Blackburn on 4/3/19 granting 139 Motion to Withdraw
                     Document 137 as to Alan Alonzo Williams (1). The Motions Hearing set 4/25/19 @
                     10:00 am is vacated. A Telephonic (non−appearance) Setting Conference is set for
                     4/8/2019 at 10:45 AM to set this matter for sentencing hearing. Counsel for the
                     government shall arrange, initiate, and coordinate the conference call to chambers at
                     303−335−2350 to facilitate the setting conference. Text Only Entry (rebsec) (Entered:
                     04/03/2019)
    04/03/2019   142 RESPONSE TO ORDER TO SHOW CAUSE to 134 Order to Show Cause −
                     Declaration of Richard Hudgins, by USA as to Alan Alonzo Williams (Weber,
                     Rebecca) Modified on 4/4/2019 to add text (athom, ). (Entered: 04/03/2019)
    04/08/2019   143 MINUTE ORDER by Judge Robert E. Blackburn on 4/8/19 as to Alan Alonzo
                     Williams. After conferring with counsel, and by agreement of all, the Sentencing
                     hearing is set for 6/19/2019 at 01:30 PM in Courtroom A1001 before Judge Robert E.
                     Blackburn. Text Only Entry (rebsec) (Entered: 04/08/2019)
    05/15/2019   144 TRANSCRIPT of TRANSCRIPT OF PROCEEDINGS as to Alan Alonzo Williams
                     held on 03/23/2016 before Magistrate Judge Tafoya. Pages: 1−6. Prepared by: AB
                     Court Reporting & Video, Inc..

                        NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                       this filing, each party shall inform the Court, by filing a Notice of Intent to
                       Redact, of the party's intent to redact personal identifiers from the electronic
                       transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                       within the allotted time, this transcript will be made electronically available after
                       90 days. Please see the Notice of Electronic Availability of Transcripts document
                       at www.cod.uscourts.gov.

                       Transcript may only be viewed at the court public terminal or purchased through the
                       Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                       PACER. (AB Court Reporting & Video, Inc., ) (Entered: 05/15/2019)
                                                                                                                94
Case No. 1:15-cr-00395-REB
      Case                  Document
            1:15-cr-00395-REB        173-3
                               Document    filedFiled
                                        158-1    09/10/19   USDC
                                                      06/27/19   Colorado
                                                               Page 13 of 14pg 95 of
                                      145

    06/03/2019   146 Letter requesting that Steven K. Jacobson be withdrawn as my counsel by Alan
                     Alonzo Williams. (Attachments: # 1 Envelope) (athom, ) (Entered: 06/04/2019)
    06/04/2019   145 SENTENCING STATEMENT Third Supplemental by Alan Alonzo Williams
                     (Attachments: # 1 Exhibit Discharge Instructions, # 2 Exhibit 3 28 18 Report, # 3
                     Exhibit 8 28 18 Report, # 4 Exhibit Fax, # 5 Exhibit Orthopedic Report, # 6 Exhibit
                     Letter)(Jacobson, Steven) (Entered: 06/04/2019)
    06/06/2019   147 MINUTE ORDER by Judge Robert E. Blackburn on 6/6/19 re 146 MOTION for
                     Order filed by Alan Alonzo Williams. This matter is set for hearing on 6/19/2019 at
                     01:15 PM in Courtroom A1001 before Judge Robert E. Blackburn. Text Only Entry
                     (rebsec) (Entered: 06/06/2019)
    06/11/2019   148 TRANSCRIPT of TRANSCRIPT OF PROCEEDINGS as to Alan Alonzo Williams
                     held on 03/18/2016 before Magistrate Judge Hegarty. Pages: 1−5. Prepared by: AB
                     Court Reporting & Video, Inc..

                        NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                       this filing, each party shall inform the Court, by filing a Notice of Intent to
                       Redact, of the party's intent to redact personal identifiers from the electronic
                       transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                       within the allotted time, this transcript will be made electronically available after
                       90 days. Please see the Notice of Electronic Availability of Transcripts document
                       at www.cod.uscourts.gov.

                       Transcript may only be viewed at the court public terminal or purchased through the
                       Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                       PACER. (AB Court Reporting & Video, Inc., ) (Entered: 06/11/2019)
    06/11/2019   149 AFFIDAVIT by USA as to Alan Alonzo Williams (Weber, Rebecca) (Entered:
                     06/11/2019)
    06/12/2019   150 RESTRICTED MEDICAL REPORT as to Alan Alonzo Williams. (Attachments: # 1
                     Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit, # 6 Exhibit, # 7 Exhibit, # 8
                     Exhibit, # 9 Exhibit, # 10 Exhibit, # 11 Exhibit, # 12 Exhibit, # 13 Exhibit, # 14
                     Exhibit, # 15 Exhibit)(Weber, Rebecca) (Entered: 06/12/2019)
    06/12/2019   151 SENTENCING STATEMENT and Response to Defendant's Sentencing Statements by
                     USA as to Alan Alonzo Williams (Attachments: # 1 Exhibit, # 2 Exhibit)(Weber,
                     Rebecca) (Entered: 06/12/2019)
    06/13/2019   152 Corrected TRANSCRIPT of TRANSCRIPT OF PROCEEDINGS as to Alan Alonzo
                     Williams held on 03/18/2016 before Magistrate Judge Hegarty. Pages: 1−5. Prepared
                     by: AB Court Reporting & Video, Inc..

                        NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                       this filing, each party shall inform the Court, by filing a Notice of Intent to
                       Redact, of the party's intent to redact personal identifiers from the electronic
                       transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                       within the allotted time, this transcript will be made electronically available after
                       90 days. Please see the Notice of Electronic Availability of Transcripts document
                       at www.cod.uscourts.gov.

                       Transcript may only be viewed at the court public terminal or purchased through the
                       Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                       PACER. (AB Court Reporting & Video, Inc., ) (Entered: 06/13/2019)
    06/19/2019   153 COURTROOM MINUTES for Motion Hearing as to Alan Alonzo Williams held
                     before Judge Robert E. Blackburn. ORDERED: The motion to terminate the
                     attorney−client relationship in the form of a letter to the Court 146 is denied. Court
                     Reporter: Tracy Weir. (lrobe) (Entered: 06/19/2019)
    06/19/2019   154 COURTROOM MINUTES for Sentencing as to Alan Alonzo Williams held before
                     Judge Robert E. Blackburn on 6/19/2019. ORDERED: 52 Government's Motion
                     Pursuant to U.S.S.G. § 3E1.1(b) and 53 Government's Motion to Dismiss Counts are
                     granted. Defendant sentenced as reflected on the record. Defendant remanded. Court
                     Reporter: Tracy Weir. (lrobe) (Entered: 06/19/2019)

                                                                                                                  95
Case No. 1:15-cr-00395-REB
      Case                  Document
            1:15-cr-00395-REB        173-3
                               Document    filedFiled
                                        158-1    09/10/19   USDC
                                                      06/27/19   Colorado
                                                               Page 14 of 14pg 96 of
                                      145

    06/21/2019   155 JUDGMENT as to defendant Alan Alonzo Williams. Count 1: 84 months
                     imprisonment. 5 years supervised release. $100 special assessment. $1,146,828.28
                     restitution. Counts 2−4: Dismissed. Entered by Judge Robert E. Blackburn on
                     6/21/2019. (lrobe) (Entered: 06/21/2019)
    06/21/2019   156 STATEMENT OF REASONS as to Alan Alonzo Williams. (lrobe) (Entered:
                     06/21/2019)
    06/27/2019   157 NOTICE OF APPEAL as to 154 Order on Motion for Decrease for Acceptance of
                     Responsibility,, Order on Motion to Dismiss Counts,, Sentencing, 155 Judgment, 156
                     Statement of Reasons by Alan Alonzo Williams. (Jacobson, Steven) (Entered:
                     06/27/2019)




                                                                                                          96
Case No.Case
         1:15-cr-00395-REB  Document
             1:15-cr-00395-REB       173-3
                               Document     filed Filed
                                         158-2    09/10/19   USDC
                                                        06/27/19  Colorado
                                                                 Page 1 of 11 pg 97 of
                                      145




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                              Senior Judge Robert E. Blackburn

 Date:                  June 19, 2019
 Deputy Clerk:          Leigh Roberson
 Court Reporter:        Tracy Weir
 Probation Officer:     Kyla Hamilton


  Criminal Action No. 15-cr-395-REB                      Counsel:

  UNITED STATES OF AMERICA,                              Rebecca Weber

           Plaintiff,

  v.

  ALAN ALONZO WILLIAMS,                                  Steven Jacobson

           Defendant.


                                  SENTENCING MINUTES


 2:06 p.m.        Court in session.

 Appearances of counsel. Defendant is present in custody.

 Court’s opening remarks.

 The parties have received and reviewed the presentence report and all addenda.

 Also pending before the Court relevant to sentencing are the following:

      Government’s Response to Presentence Report [ECF 51], filed April 7, 2017
      Government’s Motion Pursuant to U.S.S.G. § 3E1.1(b) [ECF 52], filed April 7, 2017
      Government’s Motion to Dismiss Counts [ECF 53], filed April 7, 2017
      Defendant’s Response to Presentence Report [ECF 55], filed June 15, 2017
      Defendant’s Sentencing Memorandum and Motion for Downward Departure and
       Variance [ECF 58], filed August 3, 2017
      Government’s Response to Defendant’s Sentencing Statement [ECF 67], filed
       November 2, 2017
      Defendant’s Supplemental Sentencing Memorandum [ECF 68], filed November 8,
       2017



                                                                                           97
Case No.Case
         1:15-cr-00395-REB  Document
             1:15-cr-00395-REB       173-3
                               Document     filed Filed
                                         158-2    09/10/19   USDC
                                                        06/27/19  Colorado
                                                                 Page 2 of 11 pg 98 of
                                      145




    Defendant’s Supplemental Sentencing Information Regarding Health Issues [ECF
     69], filed November 13, 2017
    Defendant’s Second Supplemental Sentencing Memorandum and Request for Non-
     Guideline Sentence [ECF 110], filed September 7, 2018
    Government’s Response to Defendant’s Sentencing Statements [ECF 151], filed
     June 12, 2019

 Statement by defense counsel.

 Defendant sworn. Statement by the defendant.

 Statement by government counsel.

 Court’s sentencing statement, findings of fact, conclusions of law, judgment of
 conviction, sentence, and orders.

 2:29 p.m.    Court in recess.
 2:53 p.m.    Court in session.

 IT IS ORDERED as follows:

 1. That the plea agreement of the parties as presented in [ECF 44] and [ECF 45] is
    formally approved;

 2. That [ECF 52] is granted;

 3. That [ECF 53] is granted and, accordingly, that Counts 2, 3, and 4 of the Indictment
    are dismissed with prejudice;

 4. That the defendant’s motion for downward departure, if any, in [ECF 58] is denied;

 5. That the defendant’s motion for a variance or statutory sentence as requested or
    reiterated in [ECF 58], [ECF 68], and [ECF 110] is denied;

 6. That judgment of conviction is entered on Count 1 of the Indictment;

 7. That it is the judgment and sentence of this Court that the defendant is committed to
    the custody of the Bureau of Prisons to be imprisoned for a term of 84 months;

 8. That upon release from imprisonment, the defendant shall be placed on supervised
    release for a term of five years;

 9. that within 72 hours of his release from imprisonment and the custody of the Bureau
    of Prisons, the defendant shall report in person to the probation department within
    the federal district in which he is released;




                                                                                            98
Case No.Case
         1:15-cr-00395-REB  Document
             1:15-cr-00395-REB       173-3
                               Document     filed Filed
                                         158-2    09/10/19   USDC
                                                        06/27/19  Colorado
                                                                 Page 3 of 11 pg 99 of
                                      145




 10. That while on supervised release, the defendant shall comply with the mandatory,
     standard, and special conditions of supervised release identified on pages R-2 and
     R-3 of the Sentencing Recommendation [ECF 117-1]:

 11. That no fine is imposed;

 12. That the defendant shall pay forthwith a special victim’s fund assessment fee of
     $100.00;

 13. That the defendant shall pay restitution for the benefit of the victims and in the
     amounts identified in the Sentencing Recommendation [ECF 117-1], payable in care
     of the Clerk of the Court in full immediately, failing which, in monthly installments of
     not less than ten percent of the defendant’s gross monthly income as determined
     periodically by the supervising probation officer; provided, furthermore, interest on
     restitution is waived;

 14. That the Court recommends that the Bureau of Prisons designate the defendant to
     its official detention facility in FCI Englewood;

 15. That presentence confinement credit shall be determined by the Bureau of Prisons;
     and

 16. That the defendant is remanded to the custody of the United States Marshal for
     imposition and execution of this sentence.

 The defendant is formally advised of his right to appeal the sentence imposed by the
 Court.

 3:23 p.m.     Court in recess.

 Total time in court: 00:53

 Hearing concluded.




                                                                                                99
             Case No.Case
                      1:15-cr-00395-REB   Document
                           1:15-cr-00395-REB       173-3158-2
                                              Document    filed 09/10/19  USDCPage
                                                                Filed 06/27/19 Colorado
                                                                                   4 of 11pg 100 of
                                                     145
    AO 245B (Rev. 02/18)   Judgment in a Criminal Case



                                                UNITED STATES DISTRICT COURT
                                                                      District of Colorado
                                                                                 )
                  UNITED STATES OF AMERICA                                       )    JUDGMENT IN A CRIMINAL CASE
                                       v.                                        )
                                                                                 )
                     ALAN ALONZO WILLIAMS                                        )    Case Number:         1:15-cr-00395-REB-1
                                                                                 )    USM Number:          43473-013
                                                                                 )
                                                                                 )    Steven K. Jacobson
                                                                                 )    Defendant’s Attorney
    THE DEFENDANT:
    ‫ ܈‬pleaded guilty to count(s)        1 of the Indictment.
    ‫ ܆‬pleaded nolo contendere to count(s)
      which was accepted by the court.
    ‫ ܆‬was found guilty on count(s)
      after a plea of not guilty.

    The defendant is adjudicated guilty of these offenses:

    Title & Section                             Nature of Offense                                                      Offense Ended          Count

    18 U.S.C. §§ 1344 and 2(b)                  Bank Fraud                                                               08/05/2008              1


        The defendant is sentenced as provided in pages 2 through                   7            of this judgment. The sentence is imposed pursuant to
    the Sentencing Reform Act of 1984.
    ‫ ܆‬The defendant has been found not guilty on count(s)
    ‫ ܈‬Count(s) 2 through 4 of the Indictment                   ‫ ܆‬is     ‫܈‬    are dismissed on the motion of the United States.

              It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
    or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
    restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                            June 19, 2019
                                                                            Date of Imposition of Judgment




                                                                            Signature of Judge




                                                                            Robert E. Blackburn, Senior United States District Judge
                                                                            Name and Title of Judge

                                                                              June 21, 2019
                                                                            Date

                                           




                                                                                                                                               100
          Case No.Case
                   1:15-cr-00395-REB   Document
                        1:15-cr-00395-REB       173-3158-2
                                           Document    filed 09/10/19  USDCPage
                                                             Filed 06/27/19 Colorado
                                                                                5 of 11pg 101 of
                                                  145
AO 245B (Rev. 02/18) Judgment in Criminal Case

                                                                                                   Judgment — Page    2     of      7
 DEFENDANT:                   ALAN ALONZO WILLIAMS
 CASE NUMBER:                 1:15-cr-00395-REB-1

                                                           IMPRISONMENT
 The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of: eighty-four (84)
 months.



      ‫܈‬     The court makes the following recommendations to the Bureau of Prisons:
            The court recommends that the defendant be designated to FCI Englewood, in Littleton Colorado.




      ‫܈‬     The defendant is remanded to the custody of the United States Marshal.

      ‫܆‬     The defendant shall surrender to the United States Marshal for this district:
            ‫܆‬     at                                      ‫܆‬      a.m. ‫܆‬        p.m.   on                                                    .
            ‫܆‬     as notified by the United States Marshal.

      ‫܆‬     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            ‫܆‬     before 2 p.m. on                                        .
            ‫܆‬     as notified by the United States Marshal.
            ‫܆‬     as notified by the Probation or Pretrial Services Office.

                                                                  RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                            to

 at                                                , with a certified copy of this judgment.



                                                                                                    UNITED STATES MARSHAL



                                                                              By
                                                                                                 DEPUTY UNITED STATES MARSHAL




                                                                                                                                  101
         Case No.Case
                  1:15-cr-00395-REB   Document
                       1:15-cr-00395-REB       173-3158-2
                                          Document    filed 09/10/19  USDCPage
                                                            Filed 06/27/19 Colorado
                                                                               6 of 11pg 102 of
                                                 145
AO 245B (Rev. 02/18) Judgment in Criminal Case

                                                                                                Judgment — Page     3      of         7
 DEFENDANT:                   ALAN ALONZO WILLIAMS
 CASE NUMBER:                 1:15-cr-00395-REB-1

                                                    SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of: five (5) years.




                                                 MANDATORY CONDITIONS

1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
            ‫ ܈‬The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                 substance abuse. (check if applicable)
4.    ‫ ܈‬You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
           restitution. (check if applicable)
5.    ‫ ܈‬You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.    ‫ ܆‬You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
           directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
           reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.    ‫ ܆‬You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.




                                                                                                                                     102
         Case No.Case
                  1:15-cr-00395-REB   Document
                       1:15-cr-00395-REB       173-3158-2
                                          Document    filed 09/10/19  USDCPage
                                                            Filed 06/27/19 Colorado
                                                                               7 of 11pg 103 of
                                                 145
AO 245B (Rev. 02/18) Judgment in Criminal Case

                                                                                                  Judgment — Page      4      of          7
 DEFENDANT:                   ALAN ALONZO WILLIAMS
 CASE NUMBER:                 1:15-cr-00395-REB-1

                                        STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
      time frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
      the court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
      was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
      tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                     Date




                                                                                                                                        103
             Case No.Case
                      1:15-cr-00395-REB   Document
                           1:15-cr-00395-REB       173-3158-2
                                              Document    filed 09/10/19  USDCPage
                                                                Filed 06/27/19 Colorado
                                                                                   8 of 11pg 104 of
                                                     145
    AO 245B (Rev. 02/18) Judgment in Criminal Case

                                                                                                    Judgment — Page      5     of          7
     DEFENDANT:                   ALAN ALONZO WILLIAMS
     CASE NUMBER:                 1:15-cr-00395-REB-1

                                               SPECIAL CONDITIONS OF SUPERVISION
     1.     You must not incur new credit charges or open additional lines of credit without the approval of the probation officer, unless you are
            in compliance with the periodic payment obligations imposed pursuant to the Court’s judgment and sentence.
     2.     As directed by the probation officer, you must apply any monies received from income tax refunds, lottery winnings, inheritances,
            judgments, and any anticipated or unexpected financial gains to the outstanding court-ordered financial obligation in this case.
     3.     You must provide the probation officer access to any requested financial information and authorize the release of any financial
            information.
     4.     If the judgment imposes restitution, you must pay the restitution in accordance with the Schedule of Payments sheet of this
            judgment. You must also notify the court of any changes in economic circumstances that might affect your ability to pay the
            restitution.
     5.     You must document all income and compensation generated or received from any source and must provide that information to the
            probation officer as requested.
     6.     You must not cause or induce anyone to conduct any financial transaction on your behalf or maintain funds on your behalf.
     7.     You must not engage in any business activity unless it is approved by the probation officer. All approved business activity must
            operate under a formal, registered entity, and you must provide the probation officer with the names of the business entities and
            their registered agents. You must maintain business records for any approved business activity and provide all documentation and
            records as requested by the probation officer.
     8.     You must maintain separate personal and business finances and must not co-mingle personal and business funds or income in any
            financial accounts, including but not limited to bank accounts and lines of credit.
     9.     You must participate in a cognitive behavioral treatment (CBT) program as directed by the probation officer until such time as you
            are released from the program by the probation officer. You must pay the cost of treatment as directed by the probation officer.




                                          




                                                                                                                                         104
         Case No.Case
                  1:15-cr-00395-REB   Document
                       1:15-cr-00395-REB       173-3158-2
                                          Document    filed 09/10/19  USDCPage
                                                            Filed 06/27/19 Colorado
                                                                               9 of 11pg 105 of
                                                 145
AO 245B (Rev. 02/18) Judgment in Criminal Case

                                                                                                          Judgment — Page      6       of         7
 DEFENDANT:                   ALAN ALONZO WILLIAMS
 CASE NUMBER:                 1:15-cr-00395-REB-1

                                                 CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on the following page.

                       Assessment                    JVTA Assessment*             Fine                           Restitution
TOTALS             $ 100.00                      $ 0.00                         $ 0.00                         $ 1,146,828.28


‫ ܆‬The determination of restitution is deferred until                      . An Amended Judgment in a Criminal Case (AO 245C) will be entered
  after such determination.

‫ ܈‬The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
    before the United States is paid.

Name of Payee                                                      Total Loss**                 Restitution Ordered                Priority or Percentage
WebBank                                                                                                  $936,828.28
215 South State Street, Ste. 1000
Salt Lake City, UT 84111
Wells Fargo Bank                                                                                            $210,000.00
MAC C7301-L25
1740 Broadway
Denver, CO 80274



TOTALS                                                        $                                   $         1,146,828.28
‫ ܈‬Restitution amount ordered pursuant to plea agreement               $                    1,146,828.28

‫ ܆‬The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
  fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on the following page may be
  subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

‫ ܈‬The court determined that the defendant does not have the ability to pay interest and it is ordered that:

    ‫ ܈‬the interest requirement is waived for the             ‫ ܆‬fine       ‫ ܈‬restitution.

    ‫ ܆‬the interest requirement for the           ‫܆‬    fine    ‫ ܆‬restitution is modified as follows:

* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.




                                                                                                                                                105
         Case No.Case
                  1:15-cr-00395-REB  Document
                      1:15-cr-00395-REB       173-3
                                        Document     filed Filed
                                                  158-2    09/10/19   USDC
                                                                 06/27/19  Colorado
                                                                          Page 10 of 11pg 106 of
                                                145
AO 245B (Rev. 02/18) Judgment in Criminal Case

                                                                                                          Judgment — Page       7       of           7
 DEFENDANT:                   ALAN ALONZO WILLIAMS
 CASE NUMBER:                 1:15-cr-00395-REB-1

                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A     ‫ ܆‬Lump sum payment of $                                    due immediately, balance due

            ‫܆‬     not later than                                    , or
            ‫܆‬     in accordance with ‫܆‬           C,   ‫܆‬     D,      ‫ ܆‬E, or ‫ ܆‬F below; or

B     ‫ ܈‬Payment to begin immediately (may be combined with ‫܆‬                     C,      ‫ ܆‬D, or       ‫ ܈‬F below); or

C     ‫ ܆‬Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                           (e.g., months or years), to commence                         (e.g., 30 or 60 days) after the date of this judgment; or

D     ‫ ܆‬Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                           over a period of
                           (e.g., months or years), to commence                         (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

E     ‫ ܆‬Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
        imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F     ‫ ܈‬Special instructions regarding the payment of criminal monetary penalties:
            The special assessment and restitution are due immediately. Any unpaid monetary obligations upon release from incarceration
            shall be paid in monthly installment payments during the term of supervised release. The monthly installment payment will be
            calculated as at least 10 percent of the defendant’s gross monthly income.



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

‫܆‬     Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




‫܆‬     The defendant shall pay the cost of prosecution.

‫܆‬     The defendant shall pay the following court cost(s):

‫܆‬     The defendant shall forfeit the defendant’s interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.




                                                                                                                                                   106
Case No.Case
         1:15-cr-00395-REB  Document
             1:15-cr-00395-REB       173-3
                               Document     filed Filed
                                         158-2    09/10/19   USDC
                                                        06/27/19  Colorado
                                                                 Page 11 of 11pg 107 of
                                       145




                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

    Criminal Action No. 1:15-cr-00395-REB

    UNITED STATES OF AMERICA,

         Plaintiff,

    v.

    1.    ALAN ALONZO WILLIAMS,

         Defendant.


                                       NOTICE OF APPEAL



             Notice is hereby given that Alan Alonzo Williams, defendant in the above
    named case, hereby appeals to the United States Court of Appeals for the Tenth
    Circuit the Final Judgment and Commitment Order that was entered in this action
    on June 19, 2019.

            Dated: June 27, 2019.

                      Respectfully submitted,

                                                s/ Steven K. Jacobson
                                                Steven K. Jacobson
                                                Rafik and Jacobson LLC
                                                1881 9th St., Suite 315
                                                Boulder, Colorado 80302
                                                Telephone: 303-444-9292
                                                Fax: 303-447-0200
                                                e-mail: steve@collinsrafik.com


                              CERTIFICATE OF SERVICE (CM/ECF)

          I hereby certify that on JUNE 27, 2019, I electronically filed the foregoing
    NOTICE OF APPEAL with the Clerk of the Court using the CM/ECF filing system
    which will send notification of such filing to all counsel of record in this case.

                                                s/ Steven K. Jacobson
                                                Steven K. Jacobson

                                                                                         107
 Case No. 1:15-cr-00395-REB   Document
           Case 1:15-cr-00395-REB      173-3 159
                                   Document   filed Filed
                                                    09/10/19   USDCPage
                                                          06/27/19  Colorado
                                                                        1 of 3 pg 108 of
                                         145
Appellate Case: 19-1229 Document: 010110188936 Date Filed: 06/27/2019 Page: 1
                           UNITED STATES COURT OF APPEALS
                               FOR THE TENTH CIRCUIT
                                OFFICE OF THE CLERK
                                 Byron White United States Courthouse
                                          1823 Stout Street
                                       Denver, Colorado 80257
                                           (303) 844-3157
   Elisabeth A. Shumaker                                                           Chris Wolpert
   Clerk of Court                         June 27, 2019                       Chief Deputy Clerk




   Mr. Steven K. Jacobson
   Collins, Rafik and Jacobson, lLC
   1881 9th Street, Suite 315
   Boulder, CO 80302

   RE:       19-1229, United States v. Williams
             Dist/Ag docket: 1:15-CR-00395-REB-1

   Dear Counsel:

   The court has received and docketed your appeal. Please note your case number above.
   Copies of the Tenth Circuit Rules, effective January 1, 2019, and the Federal Rules of
   Appellate Procedure, effective December 1, 2018, may be obtained by contacting this
   office or by visiting our website at http://www.ca10.uscourts.gov. In addition, please note
   all counsel are required to file pleadings via the court's Electronic Case Filing (ECF)
   system. See 10th Cir. R. 25.3. You will find information regarding registering for and
   using ECF on the court's website. We invite you to contact us with any questions you
   may have about our operating procedures. Please note that all court forms are now
   available on the court's web site.

   Attorneys must complete and file an entry of appearance form within 14 days of the date
   of this letter. See 10th Cir. R. 46.1(A). Pro se parties must complete and file the form
   within thirty days of the date of this letter. An attorney who fails to enter an appearance
   within that time frame will be removed from the service list for this case, and there may
   be other ramifications under the rules. If an appellee does not wish to participate in the
   appeal, a notice of non-participation should be filed via ECF as soon as possible. The
   notice should also indicate whether counsel wishes to continue receiving notice or service
   of orders issued in the case.

   Although attorneys who file a notice of appeal have technically entered an appearance,
   and may not withdraw without the court's permission, counsel must still file a separate
   entry of appearance form. For criminal appeals, please note the court will require trial
   counsel to continue the representation whether retained or appointed, until an order issues
   allowing withdrawal. This is the case even if you did not sign the notice of appeal. See


                                                                                                   108
 Case No. 1:15-cr-00395-REB   Document
           Case 1:15-cr-00395-REB      173-3 159
                                   Document   filed Filed
                                                    09/10/19   USDCPage
                                                          06/27/19  Colorado
                                                                        2 of 3 pg 109 of
                                         145
Appellate Case: 19-1229 Document: 010110188936 Date Filed: 06/27/2019 Page: 2
   10th Cir. R. 46.3(A). This initial continuity of counsel ensures that any criminal
   defendant who wishes to appeal has that appeal perfected.

   Generally, the court will not allow counsel to withdraw until an entry of appearance form
   and the docketing statement are filed. See 10th Cir. R. 46.3(A). If there is an issue
   regarding the defendant's eligibility for the appointment of counsel, an appropriate
   motion must be filed in the district court. Where this is the case, it may be appropriate to
   file a motion seeking to extend the time for filing the motion to appoint or withdraw
   under the court's Criminal Justice Act plan.

   You are required to file a docketing statement within 14 days of filing the notice of
   appeal. If you have not yet filed that pleading, you should do so within 14 days of the
   date of this letter. Please note that under 10th Cir. R. 3.4(B), the appellant is not limited
   to the issues identified in his docketing statement and may raise other appropriate issues
   in the opening brief.

   In addition to the docketing statement, all transcripts must be ordered within 14 days of
   the date of this letter. If no transcript is necessary, you must file a statement to that effect.

   As appointed counsel, you are required to file a designation of record with the district
   court. You must also file a copy with this court. Under 10th Cir. R. 10.3(A)(1), that
   designation must be filed within 14 days of filing the notice of appeal. If you have not
   done so already, you should file the designation immediately.

   In addition, and also within 14 days of filing the notice of appeal, all appointed counsel
   must file either a motion to continue the CJA appointment or a motion to withdraw. See
   10th Cir. R. 46.3(B). Any motion to withdraw must comply with 10th Cir. R. 46.4(A).

   Under 10th Cir. R. 10.3(A)(2), the government may file an additional designation within
   14 days after service of appellant's designation. Once that time passes, the district court
   will complete assembly of the record. The district court clerk will transmit the record to
   this court and will notify the parties. See Fed. R. App. P. 11(b)(2); 10th Cir. R. 11.2(A).

   The opening brief is due forty days after the appellate record is filed. See Fed. R. App. P.
   31(a)(1); see also 10th Cir. R. 31.1(A).

   Briefs must satisfy all requirements of the Federal Rules of Appellate Procedure and
   Tenth Circuit Rules with respect to form and content. See specifically Fed. R. App. P. 28
   and 32 and 10th Cir. R. 28.1, 28.2 and 32, as well as 31.3 when applicable. As applicable,
   we encourage all counsel to be familiar with 10th Cir. R. 46.4(B). Seven hard copies of
   briefs must be provided to the court within two days of filing via the court's Electronic
   Case Filing system. See 10th Cir. R. 31.5 and the court's CM/ECF User's Manual.
   Counsel are encouraged to utilize the court's Briefing & Appendix checklist when
   compiling their briefs.

   Motions for extension of time to file briefs must comply with 10th Cir. R. 27.1 and 27.6.
   These motions are not favored.

                                                                                                       109
 Case No. 1:15-cr-00395-REB   Document
           Case 1:15-cr-00395-REB      173-3 159
                                   Document   filed Filed
                                                    09/10/19   USDCPage
                                                          06/27/19  Colorado
                                                                        3 of 3 pg 110 of
                                         145
Appellate Case: 19-1229 Document: 010110188936 Date Filed: 06/27/2019 Page: 3
   Thank you very much for your service to the court in your role as appointed counsel. If
   you are unfamiliar with the court's procedures or have questions, please call this office. In
   addition, you might also call the Appellate Division, created by the court to handle
   appeals circuit-wide, of the Office of the Federal Public Defender in Denver. That
   number is 303-294-7002. One of the appellate assistants will be happy to help you.

   Please contact this office if you have questions.

                                               Sincerely,



                                               Elisabeth A. Shumaker
                                               Clerk of the Court



   cc:       Rebecca S. Weber

    EAS/na




                                                                                                   110
Case No. 1:15-cr-00395-REB   Document
          Case 1:15-cr-00395-REB      173-3 160
                                  Document   filed Filed
                                                   09/10/19   USDCPage
                                                         06/28/19  Colorado
                                                                       1 of 2 pg 111 of
                                        145



                            UNITED STATES DISTRICT COURT


    UNITED STATES OF AMERICA,                      District Court No. 1:15-cr-00395-REB

            Plaintiff-Appellee,
    v.                                             Court of Appeals No. 19-1229

    ALAN ALONZO WILLIAMS

            Defendant-Appellant..


NOTE: THIS DESIGNATION FORM MUST BE COMPLETED AND FILED IN
ACCORDANCE WITH THE INSTRUCTIONS ON THE REVERSE SIDE OF THE
FORM.

       Those original papers which have been designated by circling their respective docket
numbers (or dates of entry) on the attached copy of the district court’s docket sheets should be
included in the record on appeal prepared by the clerk of the district court and transmitted to
the clerk of the court of appeals. (If the district court clerk so elects, original papers may be
retained in the district court and copies thereof may be included in the record on appeal.)
       The following items should also be included in the record on appeal. (Portions of
transcripts should be designated by hearing dates and page numbers.)

         1. Final Presentence Investigation Report and Addendums

         2. Transcript of Plea Hearing (already prepared and noted on docket sheet)

         3. Transcript of Initial Advisement held March 18, 2016 (already prepared and noted
            on docket sheet)

         4. Transcript of Hearing on Withdrawal Motion and Sentencing Hearing on June 19,
            2019.


                         Respectfully submitted,

                                                   s/ Steven K. Jacobson
                                                   Steven K. Jacobson
                                                   Rafik and Jacobson LLC
                                                   1881 9th St., Suite 315
                                                   Boulder, Colorado 80302
                                                   Telephone: 303-444-9292
                                                   Fax: 303-447-0200


                                                                                                    111
Case No. 1:15-cr-00395-REB   Document
          Case 1:15-cr-00395-REB      173-3 160
                                  Document   filed Filed
                                                   09/10/19   USDCPage
                                                         06/28/19  Colorado
                                                                       2 of 2 pg 112 of
                                        145


                                               e-mail: steve@rafiklaw.com


                                   CERTIFICATE OF SERVICE

       I hereby certify that a copy of this Entry of Appearance and Certificate of Interested
Parties was served on June 28, 2019 on Rebecca Weber, Rebecca.weber@usdoj.gov, counsel
for Plaintiff-Appellee,

by email.

/s/Steven K, Jacobson
Steven K. Jacobson
Rafik and Jacobson, LLC
1881 9th St., Suite 315
Boulder, Colorado, 80302




A-9 Designation of Record Form 12/09




                                                                                                112
Case No.Case
         1:15-cr-00395-REB   Document
              1:15-cr-00395-REB       173-3160-1
                                 Document    filed 09/10/19  USDCPage
                                                   Filed 06/28/19 Colorado
                                                                      1 of 17pg 113 of
                                        145




                                                                                     113
Case No.Case
         1:15-cr-00395-REB   Document
              1:15-cr-00395-REB       173-3160-1
                                 Document    filed 09/10/19  USDCPage
                                                   Filed 06/28/19 Colorado
                                                                      2 of 17pg 114 of
                                        145




                                                                                     114
Case No.Case
         1:15-cr-00395-REB   Document
              1:15-cr-00395-REB       173-3160-1
                                 Document    filed 09/10/19  USDCPage
                                                   Filed 06/28/19 Colorado
                                                                      3 of 17pg 115 of
                                        145




                                                                                         115
Case No.Case
         1:15-cr-00395-REB   Document
              1:15-cr-00395-REB       173-3160-1
                                 Document    filed 09/10/19  USDCPage
                                                   Filed 06/28/19 Colorado
                                                                      4 of 17pg 116 of
                                        145




                                                                                         116
Case No.Case
         1:15-cr-00395-REB   Document
              1:15-cr-00395-REB       173-3160-1
                                 Document    filed 09/10/19  USDCPage
                                                   Filed 06/28/19 Colorado
                                                                      5 of 17pg 117 of
                                        145




                                                                                         117
Case No.Case
         1:15-cr-00395-REB   Document
              1:15-cr-00395-REB       173-3160-1
                                 Document    filed 09/10/19  USDCPage
                                                   Filed 06/28/19 Colorado
                                                                      6 of 17pg 118 of
                                        145




                                                                                         118
Case No.Case
         1:15-cr-00395-REB   Document
              1:15-cr-00395-REB       173-3160-1
                                 Document    filed 09/10/19  USDCPage
                                                   Filed 06/28/19 Colorado
                                                                      7 of 17pg 119 of
                                        145




                                                                                         119
Case No.Case
         1:15-cr-00395-REB   Document
              1:15-cr-00395-REB       173-3160-1
                                 Document    filed 09/10/19  USDCPage
                                                   Filed 06/28/19 Colorado
                                                                      8 of 17pg 120 of
                                        145




                                                                                     120
Case No.Case
         1:15-cr-00395-REB   Document
              1:15-cr-00395-REB       173-3160-1
                                 Document    filed 09/10/19  USDCPage
                                                   Filed 06/28/19 Colorado
                                                                      9 of 17pg 121 of
                                        145




                                                                                         121
Case No.Case
         1:15-cr-00395-REB  Document
             1:15-cr-00395-REB       173-3
                               Document     filed Filed
                                         160-1    09/10/19   USDC
                                                        06/28/19  Colorado
                                                                 Page 10 of 17pg 122 of
                                       145




                                                                                          122
Case No.Case
         1:15-cr-00395-REB  Document
             1:15-cr-00395-REB       173-3
                               Document     filed Filed
                                         160-1    09/10/19   USDC
                                                        06/28/19  Colorado
                                                                 Page 11 of 17pg 123 of
                                       145




                                                                                          123
Case No.Case
         1:15-cr-00395-REB  Document
             1:15-cr-00395-REB       173-3
                               Document     filed Filed
                                         160-1    09/10/19   USDC
                                                        06/28/19  Colorado
                                                                 Page 12 of 17pg 124 of
                                       145




                                                                                          124
Case No.Case
         1:15-cr-00395-REB  Document
             1:15-cr-00395-REB       173-3
                               Document     filed Filed
                                         160-1    09/10/19   USDC
                                                        06/28/19  Colorado
                                                                 Page 13 of 17pg 125 of
                                       145




                                                                                          125
Case No.Case
         1:15-cr-00395-REB  Document
             1:15-cr-00395-REB       173-3
                               Document     filed Filed
                                         160-1    09/10/19   USDC
                                                        06/28/19  Colorado
                                                                 Page 14 of 17pg 126 of
                                       145




                                                                                          126
Case No.Case
         1:15-cr-00395-REB  Document
             1:15-cr-00395-REB       173-3
                               Document     filed Filed
                                         160-1    09/10/19   USDC
                                                        06/28/19  Colorado
                                                                 Page 15 of 17pg 127 of
                                       145




                                                                                          127
Case No.Case
         1:15-cr-00395-REB  Document
             1:15-cr-00395-REB       173-3
                               Document     filed Filed
                                         160-1    09/10/19   USDC
                                                        06/28/19  Colorado
                                                                 Page 16 of 17pg 128 of
                                       145




                                                                                          128
Case No.Case
         1:15-cr-00395-REB  Document
             1:15-cr-00395-REB       173-3
                               Document     filed Filed
                                         160-1    09/10/19   USDC
                                                        06/28/19  Colorado
                                                                 Page 17 of 17pg 129 of
                                       145




                                                                                          129
Case No. 1:15-cr-00395-REB   Document
          Case 1:15-cr-00395-REB      173-3 161
                                  Document   filed Filed
                                                   09/10/19   USDCPage
                                                         06/28/19  Colorado
                                                                       1 of 1 pg 130 of
                                        145




                                                                                      130
 Case No. 1:15-cr-00395-REB   Document
           Case 1:15-cr-00395-REB      173-3 162
                                   Document   filed Filed
                                                    09/10/19   USDCPage
                                                          07/03/19  Colorado
                                                                        1 of 4 pg 131 of
                                         145
Appellate Case: 19-1229 Document: 010110192631 Date Filed: 07/03/2019 Page: 1
                                                                                FILED
                                                                    United States Court of Appeals
                        UNITED STATES COURT OF APPEALS                       Tenth Circuit

                                FOR THE TENTH CIRCUIT                                July 3, 2019
                            _________________________________
                                                                                 Elisabeth A. Shumaker
                                                                                     Clerk of Court
    UNITED STATES OF AMERICA,

          Plaintiff - Appellee,

    v.                                                            No. 19-1229
                                                        (D.C. No. 1:15-CR-00395-REB-1)
    ALAN ALONZO WILLIAMS,                                           (D. Colo.)

          Defendant - Appellant.
                         _________________________________

                                         ORDER
                            _________________________________

   Before TYMKOVICH, Chief Circuit Judge.
                    _________________________________

          This matter is before the court on attorney Steven K. Jacobson’s Renewed Motion

   to Withdraw, in which he requests leave to withdraw as counsel for appellant Alan

   Alonzo Williams and further requests that the court appoint new counsel to represent Mr.

   Williams on appeal. The district court made the requisite finding of eligibility for the

   appointment of counsel under the Criminal Justice Act, 18 U.S.C. § 3006A.

          Upon consideration, the court grants the motion to withdraw. Pursuant to the

   Criminal Justice Act, the court appoints Mr. Jacobson to represent Mr. Williams for

   purposes of this appeal, effective nunc pro tunc to the date Mr. Jacobson filed the notice

   of appeal on Mr. Williams’ behalf, and terminates that appointment with the entry of this

   order. Mr. Jacobson shall have no continuing obligations in this appeal except to:

   (1) ensure that he has made appropriate arrangements through the district court’s



                                                                                                131
 Case No. 1:15-cr-00395-REB   Document
           Case 1:15-cr-00395-REB      173-3 162
                                   Document   filed Filed
                                                    09/10/19   USDCPage
                                                          07/03/19  Colorado
                                                                        2 of 4 pg 132 of
                                         145
Appellate Case: 19-1229 Document: 010110192631 Date Filed: 07/03/2019 Page: 2



   eVoucher system for payment of the transcripts he ordered on June 28, 2019; (2) forward

   to substitute counsel any materials in his possession that are pertinent to this appeal; and

   (3) transmit a copy of this order to Mr. Williams.

          The court now appoints CJA Panel Member Keith Bradley to represent Mr.

   Williams for purposes of this appeal. See 18 U.S.C. § 3006A. Mr. Bradley’s contact

   information is:

          Keith Bradley
          Firm: 303/830-1776
          Direct: 303-894-6156
          Email: keith.bradley@squirepb.com
          Squire Patton Boggs
          1801 California Street, Suite 4900
          Denver, CO 80202

          On or before July 15, 2019, Mr. Bradley shall enter an appearance in this appeal

   on behalf of Mr. Williams. If warranted, Mr. Bradley may file—on or before July 24,

   2019: (1) a supplemental designation of record; and/or (2) a supplemental transcript order

   form. The district court shall wait until at least July 25, 2019 before transmitting the

   record on appeal.

          The court directs its Clerk to transmit a copy of this order to the Clerk of the U.S.

   District Court for the District of Colorado.


                                                  Entered for the Court
                                                  ELISABETH A. SHUMAKER, Clerk



                                                  by: Lisa A. Lee
                                                      Counsel to the Clerk


                                                     2

                                                                                                  132
 Case No. 1:15-cr-00395-REB   Document
           Case 1:15-cr-00395-REB      173-3 162
                                   Document   filed Filed
                                                    09/10/19   USDCPage
                                                          07/03/19  Colorado
                                                                        3 of 4 pg 133 of
                                         145
Appellate Case: 19-1229 Document: 010110192638 Date Filed: 07/03/2019 Page: 1
                           UNITED STATES COURT OF APPEALS
                               FOR THE TENTH CIRCUIT
                                OFFICE OF THE CLERK
                                  Byron White United States Courthouse
                                           1823 Stout Street
                                        Denver, Colorado 80257
                                            (303) 844-3157
   Elisabeth A. Shumaker                                                            Chris Wolpert
   Clerk of Court                          July 03, 2019                       Chief Deputy Clerk




   Keith Bradley
   Squire Patton Boggs
   1801 California Street, Suite 4900
   Denver, CO 80202

   RE:       19-1229, United States v. Williams
             Dist/Ag docket: 1:15-CR-00395-REB-1

   Dear Counsel:

   You have been appointed as counsel for appellant under the Criminal Justice Act, 18
   U.S.C. 3006A. The order appointing you has been docketed in the above-referenced
   appeal.

   Effective July 20, 2015, all Tenth Circuit Appellate Criminal Justice Act (“CJA”)
   vouchers must be prepared and submitted electronically via eVoucher. eVoucher is a
   nationally-supported, web-based solution for the preparation, submission, monitoring and
   approval of CJA vouchers. The Tenth Circuit’s eVoucher database can be accessed by
   clicking here, or by pasting the following URL into your web browser:

   https://evsdweb.ev.uscourts.gov/CJA_c10_prod/CJAeVoucher/

   For eVoucher Technical Support please review the Court’s eVoucher Resources Page
   (http://www.ca10.uscourts.gov/cja/evoucher), or contact the Clerk’s Office at (303) 844-
   3157 or eVoucher@ca10.uscourts.gov.

   For substantive questions regarding the content of a voucher, required
   documentation, and related issues please consult the Court’s CJA Policies and
   Procedures Webpage (http://www.ca10.uscourts.gov/cja/tenth-circuit-and-national-cja-
   policies-and-procedures), or contact a CJA case analyst at (303) 844-5306 or
   CJA_Vouchers@ca10.uscourts.gov.

   If an adverse decision is rendered you must advise your client of the right to seek review
   of this court’s decision by petition for writ of certiorari. If the client requests, and you
   believe a petition for writ of certiorari to be legally sound, you must file one with the

                                                                                                    133
 Case No. 1:15-cr-00395-REB   Document
           Case 1:15-cr-00395-REB      173-3 162
                                   Document   filed Filed
                                                    09/10/19   USDCPage
                                                          07/03/19  Colorado
                                                                        4 of 4 pg 134 of
                                         145
Appellate Case: 19-1229 Document: 010110192638 Date Filed: 07/03/2019 Page: 2
   Clerk of the Supreme Court of the United States. See Criminal Justice Act Plan, 10th Cir.
   R., Addendum I. If you claim compensation on the CJA 20 voucher for services rendered
   in petitioning for certiorari, you must attach a PDF copy of the petition in the
   “Documents” tab of your electronic voucher.

   Please contact this office if you have questions.

                                               Sincerely,



                                               Elisabeth A. Shumaker
                                               Clerk of the Court



   cc:       Rebecca S. Weber




   EAS/lab




                                                2
                                                                                               134
Case No. 1:15-cr-00395-REB   Document
          Case 1:15-cr-00395-REB      173-3 163
                                  Document   filed Filed
                                                   09/10/19   USDCPage
                                                         07/03/19  Colorado
                                                                       1 of 1 pg 135 of
                                        145




                                                                                      135
Case No. Case
         1:15-cr-00395-REB   Document
              1:15-cr-00395-REB       173-3163-1
                                 Document    filed 09/10/19   USDCPage
                                                    Filed 07/03/19 Colorado
                                                                        1 of 1 pg 136 of
                                        145




                                                                                       136
Case No. 1:15-cr-00395-REB   Document
          Case 1:15-cr-00395-REB      173-3 164
                                  Document   filed Filed
                                                   09/10/19   USDCPage
                                                         07/05/19  Colorado
                                                                       1 of 2 pg 137 of
                                        145




                                                                                      137
Case No. 1:15-cr-00395-REB   Document
          Case 1:15-cr-00395-REB      173-3 164
                                  Document   filed Filed
                                                   09/10/19   USDCPage
                                                         07/05/19  Colorado
                                                                       2 of 2 pg 138 of
                                        145




                                                                                      138
Case No. 1:15-cr-00395-REB   Document
          Case 1:15-cr-00395-REB      173-3 166
                                  Document   filed Filed
                                                   09/10/19   USDCPage
                                                         07/05/19  Colorado
                                                                       1 of 2 pg 139 of
                                        145




                                                                                      139
Case No. 1:15-cr-00395-REB   Document
          Case 1:15-cr-00395-REB      173-3 166
                                  Document   filed Filed
                                                   09/10/19   USDCPage
                                                         07/05/19  Colorado
                                                                       2 of 2 pg 140 of
                                        145




                                                                                      140
Case No. Case
         1:15-cr-00395-REB   Document
              1:15-cr-00395-REB       173-3166-1
                                 Document    filed 09/10/19   USDCPage
                                                    Filed 07/05/19 Colorado
                                                                        1 of 2 pg 141 of
                                        145




                                                                       141
Case No. Case
         1:15-cr-00395-REB   Document
              1:15-cr-00395-REB       173-3166-1
                                 Document    filed 09/10/19   USDCPage
                                                    Filed 07/05/19 Colorado
                                                                        2 of 2 pg 142 of
                                        145




                                                                       142
Case No. 1:15-cr-00395-REB   Document
          Case 1:15-cr-00395-REB      173-3 167
                                  Document   filed Filed
                                                   09/10/19   USDCPage
                                                         07/09/19  Colorado
                                                                       1 of 2 pg 143 of
                                        145




                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                               Senior Judge Robert E. Blackburn

  Criminal Case No. 15-cr-00395-REB

  UNITED STATES OF AMERICA,

          Plaintiff,

  v.

  1. ALAN ALONZO WILLIAMS,

          Defendant.

                                                 ORDER

  Blackburn, J.

          This matter is before me on the Prisoner’s Motion and Affidavit for Leave to

  Proceed on Appeal Pursuant to 28 U.S.C. § 1915 and Fed. R. App. P. 24 in a

  Criminal Case [#164]1 and Motion for Appointment of Counsel in a Criminal Case

  [#166], both filed pro se July 5, 2019, by the defendant, Alan Alonzo Williams.

          The fees and costs associated with a direct criminal appeal fall under the

  standards and procedures set forth under the Criminal Justice Act (“CJA”), 18 U.S.C. §

  3006A. United States v. Osuna, 141 F.3d 1412, 1414 (10th Cir. 1998). Section

  3006A(c) provides, “[i]f at any stage of the proceedings, including an appeal, the United

  States magistrate judge or the court finds that the person is financially unable to pay

  counsel whom he had retained, it may appoint counsel as provided in subsection (b)

  and authorize payment as provided in subsection (d), as the interests of justice may

  dictate.” If a defendant who is entitled to the appointment of CJA counsel “appeals to

  1
            “[#164]” is an example of the convention I use to identify the docket number assigned to a
  specific paper by the court’s case management and electronic case filing system (CM/ECF). I use this
  convention throughout this order.
                                                     1

                                                                                                         143
Case No. 1:15-cr-00395-REB   Document
          Case 1:15-cr-00395-REB      173-3 167
                                  Document   filed Filed
                                                   09/10/19   USDCPage
                                                         07/09/19  Colorado
                                                                       2 of 2 pg 144 of
                                        145




  an appellate court or petitions for a writ of certiorari, he may do so without prepayment

  of fees and costs or security therefor and without filing the affidavit required by section

  1915(a) of title 28.” 18 U.S.C. § 3006A(d)(7).

         Mr. Williams’ declarations in the motion and the fact that he was appointed and

  represented by the federal public defender [#7] and CJA counsel [#26, #162] during this

  proceeding reflect that he is financially unable to pay retained counsel and qualifies for

  appointment of an attorney under the CJA. For these reasons, I will grant the Prisoner’s

  Motion and Affidavit for Leave to Proceed on Appeal Pursuant to 28 U.S.C.

  § 1915 and Fed. R. App. P. 24 in a Criminal Case [#164].

         On July 3, 2019, the U.S. Court of Appeals for the Tenth Circuit entered an Order

  appointing new CJA counsel to represent Mr. Williams on appeal [#162]. Thus, I will

  deny as moot the Motion for Appointment of Counsel in a Criminal Case [#166].

         THEREFORE, IT IS ORDERED as follows:

         1. That the Prisoner’s Motion and Affidavit for Leave to Proceed on Appeal

  Pursuant to 28 U.S.C. § 1915 and Fed. R. App. P. 24 in a Criminal Case [#164] is

  granted; and

         2. That the Motion for Appointment of Counsel in a Criminal Case [#166] is

  denied as mooted by the appointment of counsel entered by the U.S. Court of Appeals

  for the Tenth Circuit on July 3, 2019 [#162].

         Dated July 9, 2019 at Denver, Colorado.

                                                           BY THE COURT:




                                                  2

                                                                                                144
Case No. 1:15-cr-00395-REB   Document
          Case 1:15-cr-00395-REB      173-3 168
                                  Document   filed Filed
                                                   09/10/19   USDCPage
                                                         07/18/19  Colorado
                                                                       1 of 1 pg 145 of
                                        145




                                                                                      145
